Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 1 of 100 Page ID #:1




 IN THE U.S. DISTRICT COURT
       CENTRAL D                 ~a
                                           T OF CALIFORNIA
                         ~s'a~~~
 MITCH TAEB        ~`~
       v                ~2B                         Case No.~V~"l`~ K'
TAYLOR SWIFT                 __,~T of c
                                          LAINT

      Plaintiff is a Celebrity TV Host Comedian Actor Speaker Published Author

SAG-AFTRA Union Member IGFA World Record Holder Award Winning

Political Film Director Award Winning Film Director Semester at Sea Alumni

College Graduate and Presidential Candidate who was Framed for sending

threatening messages to Taylor Swift and her employees on Instagram before all

charges were Dropped. Respondent may be guilty of kidnapping conspiracy fraud

malicious prosecution and torture by intentional infliction of severe mental pain

and suffering as described under Section 2340A of Title 18 of United States Code.

Respondent Joe Biden See Taebel v Biden 2:24CV66 is also most likely guilty of

the aforementioned crimes and Responsible for Preventing the Eras Tour from

Becoming the Greatest Entertainment Presidential Campaign of all time. On June

2°d 202 approximately twenty United States employees came to Plaintiffs House

on fraudulent allegations kidnapped him searched his family lake house and took

many items belonging to Plaintiff. How could the U.S. Government Not know or

figure out that Plaintiff didn't send those messages they likely did which
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 2 of 100 Page ID #:2



contributed to the Dismissal in the Interest of Justice. Plaintiff Should have been

able to make a Press Statement. The SAG-AFTRA Union should be Happy to

Start an Online Petition to charge any public official for Torture responsible for

any post arrest detainment of a SAG-AFTRA Union Member and the Media

should be More than Willing Broadcast the Petition on TV Radio and Online.

Plaintiff is the Greatest Speaker on Earth there are Ten Videos of Plaintiff's Stand-

Up Performances in the Media Disc Exhibits and one Video of Plaintiff Speaking

at one of The Long Beacll Town Council Meetings. Plaintiff is the Prince of

America Plaintiff is Funnier, Better Looking And Smarter than Prince Charles of

England who Dr Taylor Swift met on Camera in England in front of the Press and

whom she thought was supposed to Marry before ever meeting the Video is on

YouTube. Plaintiff is Related to Royalty on both sides of his family anyone can

hire a genealogist to confirm this. This kidnapping we have confirmed got over 50

Television Broadcasts across the Country after speaking with Metro Monitor

News and Media Tracker who ran a Report including National Broadcasts it was

on CNN,Fox News,ABC News, Fox32 Chicago, ABC7 Chicago, Fox 10 News

Phoenix, WGN Chicago, WTHR Indianapolis, Telecino5 Spain, WNDU South

Bend, ABC57 South Bend, WSBT Mishawaka, WSAZ, WSIL, WHIG Etc. Natalie

Bomkie from Fox32 News covered the incident in a Number of Broadcasts which

Mentioned that Plaintiff had Presidential aspirations and played a number of
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 3 of 100 Page ID #:3



Plaintiffs Instagram Videos on TV including a Video sating "I am the best debater

on TV I'll Prove it Anywhere Anytime". Ravi Baichwal from ABC7 Chicago

mentioned that Plaintiff called Taylor's father and told him his daughter is

Plaintiffs Soul Mate. The unlawful arrest was in Rolling Stone, USA Today,

Chicago Tribune, Kansas City Star, NY Post, South Bend Tribune, Economic

Times, NWI Times Etc. And many publications Online The Philippine Star Life,

Yahoo News,AV Club, Daily Mail Online, Lipstick Alley, Upi, Ground News,

Head Topics, Peek You, Fomoza, Dreamin Deamon, Revista Rhonda Etc. and

went Viral on Social Media. It was also on a number of Radio Stations although

it's hard to say how many we Know it was on local stations WEFM and WCOE-

FM. This Was The Biggest thing to Ever Happen and Certainly the Biggest thing

to ever happen in N.W. Indiana. There is a Media Coverage Playlist on Plaintiffs

YouTube Channel comprised of what Plaintiff found on YouTube obviously the

Media does Not Upload everything to YouTube. Joe Biden likely had to

authorized the unlawful arrest of Plaintiff personally as Plaintiff is a Presidential

Candidate on TV, Radio Published in the Newspaper and filed with the FEC.

Respondent obviously knows who Plaintiff is a TV Host that and has been in

Hundreds of Media Broadcasts across the Country, written to the White House,

written to Joe Biden on Instagram and written to the U.S. Civil Rights Division a

number of times Five Complaints are Included as Exhibits in Taebel V Biden in
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 4 of 100 Page ID #:4



the U.S.D.C. In Hammond. Many of the property items were returned after The

Honorable Judge Jaime M. Otis in. LaPorte County granted a motion to Dismiss on

Decemberl8th 2023 that had been filed by the district attorney's office in the

interest of Justice and for the unavailability of a Witness According to a NWI

Times Article Plaintiff Online. Plaintiffs attorney Elizabeth Flynn stated they

wouldn't have been able to prove the charges. Still retained by a U.S. prosecutor's

office is Plaintiffs Brand New Apple Mac Book Pro, iPhone, Data storage devices

etc. which has exonerating evidence and exonerating character evidence and

Plaintiff uses for work as a TV Host, Actor and Film Director. Plaintiff Received

an Award from the Los Angeles Film Awards Feb. 2017 for his Short Film Logic-

Interviewing The Inauguration Protesters For The Basis of Their Opinions and an

Award that same year from the Sweet As Film Festival in Toronto, Canada.

Plaintiff is currently seeking contracts with Networks and Production Companies

and representation from Talent Agencies in Los Angeles and Chicago. Plaintiff

needs his property returned and to continue to develop his portfolios. This has

been Plaintiff's Profession since college and after Plaintiff's career continued to

progress favorably since Plaintiff began working in Entertainment and Plaintiff

has only got Better and a Lot More Talented. The Blair Witch Project made over

$100 Million and Most People would probably rather Watch Plaintiff's Films. 127

Hours was another successful Independent Film that made over $60 Million
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 5 of 100 Page ID #:5



filmed mostly with a handheld camcorder. Plaintiff has made Three of The

Greatest Movies Ever Made for Dr Taylor Swift one of which was 12 Hrs Long

and Could be Converted into Four Three Hour Films and Re-Released and

Screened in Theaters across the country and around the world or can be modified

into a Television Series on USA,TLC,HBO ETC and Available through on

demand Streaming services Like Amazon, Netflix, Apple, Tubi, Fubo etc. Taylor I

of course would not continue to use your Media if You didn't want me too

however Rights Could Probably be Purchased by Investors with or even without

Taylor's Consent to Market for Profit. The Fair Use Doctrine also allows for use of

media for the purpose of criticism, comment, news reporting, teaching and

research and Plaintiff is an Award Winning journalist All The Above Would

Arguably Apply. Plaintiff's Property is being held by the U.S. government who

also made the unlawful arrest Plaintiff Property was taken for one arrest and still

has been retained after charges Dismissed initially when Plaintiff spoke to a U.S.

employee they stated they should be able to return the property then stated that

they would retain Plaintiffs property until Plaintiffs other case was resolved which

makes no sense because Plaintiff had never messaged Complaining witness Field

from that computer not once the computer is brand New and still under warranty

and after expiration of the warranty which is the only time Plaintiff can

Confidently Edit Media And Produce Films with Apple Support if Necessary
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 6 of 100 Page ID #:6



Obviously Public Servants cannot take Property as potential evidence in one case

for which Plaintiff has never seen a warrant and keep it for another fraudulent case

without presenting in writing justification for doing so which I assure you there is

none had Plaintiff been investigated for something else Nine Months have Passed

and they Obviously had more than enough time to make that investigation and

Return Plaintiffs Property Plaintiff knows this is obviously about thwarting a

potential Presidential Run just before the Election Campaigns Began and

Preventing Plaintiff from ever having a chance at a Run for Oval Office with the

other Candidates by Preventing Plaintifffrom Producing More Films in the

interest of this Marriage Proposal And Plaintiffs Entertainment Career Which is

also Treason by Respondent Joe Biden Plaintiffs and Plaintiffs property is

obviously being retained by Public Servants for the purpose of intimidation and

conspiracy an ex Federal employee in a Fox News Chicago broadcast also stated

on TV that he wouldn't be surprised if there was an additional federal prosecution

for the allegations Plaintiff was already being unlawfully prosecuted for in state

court before all charges were dropped in the Interest of Justice when the

prosecution confirmed Plaintiff had not even sent the messages. If anyone has

threatened or intimidated Dr Taylor Swift suggesting she not meet with Plaintiff

that would clearly be Treason Conspiracy Intimidation Etc. Obstruction of a

Presidential Campaign or any Campaign is a Serious crime especially in the
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 7 of 100 Page ID #:7



U.S.A. and Treason Nothing goes against the Principals of this Country More And

the Principals of Democracy. Taylor Swift could not possibly have any reason not

to meet with Plaintiff who is a TV Host and has met some of the biggest

Celebrities on Earth including Ryan Seacrest John O'hurley Anderson Cooper

Zach Bryan Leonardo DiCaprio Kiefer Sutherland Tim Allen Judge Alex Ferrer

Michael C Hall Mario Lopez Johnny Knocksville Andre 3000 Clint Eastwood

Andre 3000 Flo Rida The Game Ashton Kutcher John Krisinski from The Office

Claire Rosinkranz Dua Lipa Inbar Lavi Adrianna Costa Adriana Lima Delphine

Chanaec Kate Bosworth Gabriella Anwar Shenae Grimes Beach from the New

9021 And Tori Spelling from the origina190210. Taylor Swift has given Plaintiff

many signs she would like to meet Taylor broke up with Alwyn the day after

Plaintiff Released a Five Hour Twenty Minute Film Titled Celebrities Mr Mitch

Taebel and Taylor Swift Must get Married Immediately!!! See @MitchTaebel on

YouTube. Mr Mitch Taebel is Royalty on both sides of his family related to

English Royalty on his Maternal side and to German Royalty on his paternal side

Plaintiff has heard it from family members and seen Letters passed down through

generations apparently there was a 60 bedroom castle somewhere in Germany.

Anyone is invited to hire a genealogist to confirm this. Mr Mitch Taebel said if

Taylor wasn't happier then she has ever been then they wouldn't have to get

Married and soon after on the Eras Tour she stated she was happier the she has
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 8 of 100 Page ID #:8



ever been. Taylor Alison Swift Stood by Mitch Bucannon from Baywatch at EMA

Awards and he never would have been there in a Million years if it wasn't for this

Marriage Proposal. Taylor wore green at the golden globes then twice more that

week Mr Mitch Taebel has beautiful green eyes and Taylor Sings about green eyes

in her song Sparks Fly. Taylor Sings about James Dean from Indiana in her song

Style Plaintiff said if she even mentioned James Dean she has to Mary Plaintiff see

his acting reels on YouTube. Taylor and Mitch are both writers and poets they are

both very talented Singers and Performers. Plaintiff Published a Book Titled

Looking Out For America a Memoir and legal and political manifesto which

covers a lot of Supreme Court of the United States law and History Taylor says her

favorite subject was History. They both grew up outside major cities at a young

age. Mr Mitch Taebel and Taylor swift both have Sock Broker Parents that made

Millions. Dr Taylor Swift And Mr Mitch Taebel Both are Natural CEOs. Taylor I

Very Much Hope You And I Meet while we can still have a few kids as you have

said Many times on TV You Very Much Want. Taylor has always wanted children.

Plaintiff Lives in one of the Biggest Homes and properties in the small prestigious

Lake house Community of Long Beach, IN Plaintiff grew up with a Swimming

Pool, Tennis Court, Jacuzzi, Sauna, in a Three car garage Home on an Acre of

Property about a block from Lake Michigan. This is a Property Plaintiff will

inherit one day worth over $1 Million Purchased in Cash. Taylor used to say she
 Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 9 of 100 Page ID #:9



 wanted to be a stock broker when she grew up as did Plaintiff. She Recently said if

 she didn't work in Entertainment she would likely work in creative advertising

Plaintiff has said the same. Taylor's brother attended Notre Dame in South Bend

 less than an Hour From Plaintiffs House in Long Beach,IN Plaintiff was Named

after his mother's brother Mitch Stoltz who was Captain of the Baseball Team and

Pitcher and knew Vice President of The United States Dan Quayle, Jr. having been

to his House in Indianapolis a Number of Times. And Plaintiffs Mother Likes

Baywatch the most popular TV Show at one time. Taylor Swift and Plaintiff like

the same music and TV shows like Mad Men, Suits, Law and order, Burn Notice

and Friends. Mr Mitch Taebel and Dr Taylor Swift are both gifted Speakers and

make better Press statements than Anyone. Taylor and Mitch are both Award

Winning Film Directors and Music Artists. They are Both German-American.

Radio and TV Host Bobby Bones suggested Taylor Marry one of Her stalkers in

an interview and obviously none of them where Models and Actors in Los

Angeles. Mr Mitch Taebel was home-schooled for Eighth Grade and Dr Taylor

Swift was home-schooled for two years in High School. The Name of Her New

Album the Tortured Poets Department is clearly not about a football player who

never even attempted to contact her until after he saw Plaintiff in over Fifty News

Media Broadcasts many of the News Broadcasts were National Broadcasts he was

just trying to be the man and didn't even care about her He Knows Plaintiff Makes
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 10 of 100 Page ID #:10



 Better Press Statements than Anyone on Earth but he is not a leader or even a

 quarterback. The Football Player is a Dumb Animal and a Child in the brain who

 will always be a child Plaintiff is Infinitely Smarter and Has Much Much Better

Personality. They have Nothing in common and he is most likely a homosexual

 with both ears pierced and an older brother. Football is also associated with severe

brain damage Google nfl player brain scans and compare them to Plaintiff's very

healthy brain scans included in the exhibits on USB Flash Drive. Obviously Dr

Taylor Swift was never meant to marry the football player it was not a serious

relationship and was intended to embarrass Plaintiff and Dr Taylor Swift whether

or not he was aware of it and the football player obviously would have attempted

to contact her years ago had they been meant to get married or been obvious soul-

mates Plaintiff was unaware until a few years ago that Plaintiff could directly

message celebrities on Instagram and as soon as Plaintiff was aware Plaintiff

Messaged Dr Taylor Swift and the First thing Plaintiff stated was that Plaintiff was

her soul-mate. The football players father also said he didn't even know who

Taylor Swift was or her name when they met something her fans find very

unacceptable. The football player also left Sydney after one concert after Dr

Taylor Swift Broke up with him. They are also from aBlue-Collar family while

Plaintiff Mitchell Timothy Taebel and Taylor Alison Swift are both from

Millionaire Families. The blue-collar class generally think differently than the
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 11 of 100 Page ID #:11



 opulent as the upper class has the luxury of thinking differently most of the

 greatest philosophers are from the upper class. Anyone who knows anything about

 Taylor Swift knows she would have married Plaintiff years ago had they already

 met see everything she has said on TV and the guys she has dated. They Very

 Likely would have Met by Now had Plaintiff spent more time in Los Angeles

 where they visit the same Beaches Hiking Trails Night Clubs Coffee Shops

Studios and work with the same Companies. Iri her Documentary Released in

2020 she says she reached the top brit didn't have anyone to get there with other

than her mother and said "shouldn't I have someone to call right now?". Her New

Album The Tortured Poets Department was Clearly Named with Plaintiff in Mind

after Plaintiff wrote her a Number of Poems and Established himself as one of the

Greatest Poets ofAll Time. Here Are Four: Poem #1 "I Know We Were Already

Husband and Wife in a past Life, I know you are my German-American Celebrity

Soul Mate Soon to Be Wife, I know you have struggled with depression and we

are getting Married and you will never feel that way again, I know you need. me

Now More than ever, I know you love me because you love all your fans everyone

who buys your tickets or compliments you, I know we will be very happy

together, You know I am the funniest best looking smartest man that could ever

propose to you, Lets Get Married, Forever And Always Mitch And Taylor" Poem

# 2 "Taylor Taylor You're My Taylor, Forever and Always Your Mine Taylor,
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 12 of 100 Page ID #:12



 Bring Your Friends We'll Have Fun, Bring Your Dancers We're Having Fun,

 Everything is Meaningless Next to You, Being Married to You is so much better

than Any Ambition I've Ever Had, Forever And Always Mitch And Taylor" Poem

#3 "Taylor Baby You're My girl, Taylor Hunny You've Always Been My girl,

Taylor Sweetheart Wherever I Go You Go, We're Getting Married, I Love to Keep

You Near, Seven Days of the Week All Day All Night, 12 Months of the Year I

Keep You by My Side, 365 Days a Year, Everywhere I Go Taylor Taylor You're

My girl, I Love Your Personality You're Always Nice to Me, I'11 Take You

Everywhere Proudly, We get along Perfectly We Never fight, We Live in Peace

and Harmony, This Song is True and Funny, It's Always Fun to be With My girl,

You And I have always been Meant to be, We Are Getting Married, I Like to Make

You Laugh, Taylor Taylor Wherever I Go You Go, Hunny baby Girl You And I

Always, You And I Are Getting Married, I Love You Infinitely, Loved You Since

the First Time I Saw You on My TV Screen, Now I'm a TV Host And We're

Getting Married" Poein #4 "Testing Testing 123, Taylor Baby Marry Me, Call Me

Call Me, Taylor Hunny baby Call Me, Today is the Day the Time is Now, Call Me,

it's time, it's time to Call Me, Taylor Baby Video Call me, Call Me Call Me".

Plaintiff Likes Her Album Title Because it's Obviously About Plaintiff and

Appears be a Plea for Help however Plaintiff proposed if they are able to meet

before the release of Her New Album Taylor Name it "Chivalry is Not Dead",
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 13 of 100 Page ID #:13



"Poets Pandemonium" or "TS 13". Hopefully this has never happened before

Plaintiff was Framed for sending Instagram Messages that Plaintiff did not send

the accounts that sent the messages didn't even belong to Plaintiff How could the

U.S. Government not have known or figured out that Plaintiff didn't own that

Instagram account or send those messages. And why would Respondent and/or her

employees allege they that Plaintiff sent those messages in a false police report.

The account owner did post a few pictures of Plaintiff on their Instagram however

Plaintiff is a Celebrity, Public Figure and very Famous anyone can download those

photos from anywhere on the Internet and post them this in no way was evidence

that Plaintiff sent those messages or owned the accounts however it was alleged in

the police reports and fraudulent probable cause affidavit that Plaintiff made those

threats as if they knew for sure which they obviously didn't have any idea what

they were talking about or alleging and plaintiff was kidnapped and detained for

over six months before all charges were Dropped, See Taebel v. Swift

2:2023cv00258 Filed July 24t'' 2023; See also Mitch Taebel v. Elizabeth A. Flynn

2:24cv00049 in the U.S.D.C. In Hammond. Plaintiff's Attorney while Plaintiff

was illegally detained and kidnapped refused to schedule a video call when Dr

Taylor Swift And Her Attorneys at Neal &Harwell Requested a Zoom Meeting

With Plaintiff in writing on Public Record in Nashville Stating "Appointed

Counsel in Indiana will not accept service for him". Dr Taylor Swift's Attorneys
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 14 of 100 Page ID #:14



 Mailed Copies of that motion filed on public record to Plaintiff's House and to the

jail where Plaintiff was unlawfully detained Miss Swift obviously Never Wanted

or expected Plaintiff detained. A few months later after Plaintiff filed a Complaint

against Taylor Swift in the U.S. Courts the manager that had represented her since

the beginning of her career Jay Schaudies who Plaintiff thinks he saw in Nashville

at the Eras Tour and who was responsible for having Plaintiff escorted from the

Concert(whether or not he was directly influenced by U.S. government Public

Servants is unclear) and who was one of the alleged Victims in the False police

reports and Plaintiff thinks was responsible for Plaintiff's kidnapping was fired or

retired and was replaced with an Attorney from Washington D.C.. Congress should

pass a Crime Victim's Charge Approval Act which requires all law enforcement

officers to read suggested charges with sentencing ranges to a victim who must

approve all charges before a warrant or any prosecution to avoid murder over spilt

milk and obviously a crime victim's sense ofjustice matters. Tim Allen has spent

time in jail for traveling through an airport with cocaine, Mark Wahlberg was

charged for attempted Murder and plead guilty to felony assault after assaulting

two Vietnamese men high on PCP in one case he used a large stick as a weapon he

spent only 45 days in jail although having been sentenced to two years, Robert

Downey Jr spent 15 months in prison for multiple probation violations after he

was arrested for possession of heroin and a .357 Magnum these actors have
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 15 of 100 Page ID #:15



 obviously had very successful careers and have all made hundreds of millions. The

conditions ofthe Laporte County jail were apocalyptic detainees are given tablets

that usually don't work and Plaintiff was unable able to make phone calls most of

 the time when calls would appear to go through there was no way to leave

someone a voice mail or be sure the call actually went through. After Plaintiffs

illegal arrest he was able to use a landline to make a call however his parents said

they never received the message and it wasn't in their call history. And Plaintiff is

Certain they were Poisoning the Food. There were other allegations in the reports

however they were in no way illegal threats to Taylor Swift, her backup dancers or

any of her employees the only explicit threat alleged was that "Taebel posted a

picture of someone firing a handgun at a gun range and stated,'If today there is a

sexual performance of Vigilante shit, you can be sure that we will destroy you and

all other dancers and Taylor Swift too, I think you know what happened to joe

alwyn, who has already been in jail for months awaiting the death penalty, so be

careful that you are not the next one, whoever is writing here works for the

government"'. Plaintiff obviously did not or would not have sent a message like

that Plaintiff is Semester at Sea Alumni which is more Prestigious than Harvard as

it costs more and is very associated with the United Nations and it was through

University of Virginia which is probably as competitive as most of the IVY

League Private Schools. Plaintiff Knows Exactly what he is doing at all times and
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 16 of 100 Page ID #:16



 has a lot of self-control he is definitely not bipolar as a few idiots may have

 alleged only because they work with the state or county prone to retardation and

 have never been sued he just gets mad when being nice doesn't work and the IQ

and athletic ability of our children is dropping every day Taylor said Kids Yeah

Have as Many as You want in an interview in Sydney a few years ago and we

could have had two children already Taylor Swift and Plaintiff and their offspring

are dying everyday if there is any chance Plaintiff knows exactly what he is

talking about which he definitely does people need to get off their ass and help

these two meet. The Temp Restraining order Needs to be Vacated Immediately and

we Need Anyone with a phone in Taylor's Presence to Video Call Plaintiff or if

Not in her presence conference call Taylor And Mitch to save the World People

Please. She is obviously scared of public servants as she has said several times on

TV See Plaintiffs 12 HR Film in one of Her appearances with Ellen She Explicitly

Described one of Her Biggest Fears of Being "Framed" by envious and that the

Fear derives primarily from so many False Rumors and News Articles about Her

the Video ofthese Statements is included in the Exhibits and is Online. Plaintiff

Rented the Eras Tour Five Times Replayed it as many times as he could Plaintiff

would hope People Like His Films that Much they should. And Taylor Filmed it in

Southern California Mr Taebel's favorite Place on Earth Which Taylor is Very

Much Aware of. Public Servants Obviously cannot be permitted to allege people
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 17 of 100 Page ID #:17



are insane or incompetent who are infinitely smarter than they are and keep their

jobs. The officer who wrote the report accused plaintiff of having "LJN-diagnosed

mental health issues" and claiming to be a sovereign citizen which appears to be a

group of crazy people with radical antigovernment views no Professor of

Constitutional Law Agrees With. Plaintiff has Amen Clinics Brain Scans that cost

almost $5,000 that Prove that Plaintiff has a very healthy brain and no mental

health issues included on the USB Flash Drive in Exhibits. Plaintiff Aced

Abnormal Psychology in College like he Aced Physics twice in High School. and

Many other Classes See Transcripts in Exhibits. Plaintiff was always so Popular

and Got the Best-Looking Girls he knew he wouldn't have to rely on Academics

for Success and worked all through College however still Aced a lot of Classes.

Plaintiff Knows exactly what he is doing People should Not forget this Plaintiff is

tired of having to remind public servants of this. 50 Cent Lyrics: In Da Club "But

holla in New York, the niggas'll tell you I'm loco". Some people have a rhyme and

reason for everything they do and are just reasonable sensible human beings only

complete idiots who refuse to have discussion would ever think otherwise.

Plaintiff wishes people wouldn't walk around with mind blowing stupid beliefs

about him and refuse to tell him what they are thinking or talk about it Plaintiff

most likely will have something very smart to say that will give them a revelation

they never expected Plaintiff is a Justified Man who just wants to Marry his
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 18 of 100 Page ID #:18




 Obvious Soul Mate and will happily mind his own business entirely after this. It

 was mentioned on TV a number of times in the reports and articles written about

Plaintiff that he said he "would happily wear a bomb if he couldn't be with his soul

 mate" this was a joke a joke obviously not a threat meaning he would be Willing

to wear a bomb if anyone was afraid of Plaintiff and Taylor meeting and keeping

them apart because after these two meet everyone will see there is obviously

nothing to be afraid of Plaintiff thinks some of the Jews may be afraid of these two

 meeting as they are both German American and very intelligent influential

Speakers. Plaintiff makes better Press Statements than Anyone. This was partially

a joke about what happened in Arizona the obvious illegal conduct by law

enforcement and on National TV and Trump and Biden's refusal to employ the

U.S. Civil Rights Division. What's next people being raped, kidnapped and killed

on National TV and No One does Anything about it. People must always be

willing to talk about issues and listen to both sides of an issue before they can

have any real understanding they must consider different perspectives from

intelligent human beings especially directly apposing arguments. Plaintiff cares

very much about Taylor Swift and after reading a lot of rumors mostly on reddit

that she had HIV and had been treated for STDs and couldn't have kids etc

Rumors Plaintiff Now believes are most likely false however after reading them

Plaintiff wasn't sure and Mr Taebel has been Planning to Marry Her since he first
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 19 of 100 Page ID #:19



knew who she was he just wasn't ready to get married because he expected to

make hundreds of Millions before getting Married Although these two certainly

would have got married had they met Mr Taebel never felt the need to be married

although she said the same only a few years ago before Plaintiff Publicly Proposed

to her on Media, she was not being completely honest she has always wanted very

much to get married she just hadn't met her soul mate, See Her Film Miss

Americana on Netflix. No sane person doesn't want to get married in time to be

able to have children. Plaintiff spoke to Fox News Nashville about her and they

said she used to visit the station on a regular basis however they hadn't seen her in

a few years. There are telephone recordings with Fox 17 Nashville in the Exhibits

in one Plaintiff asked if they thought she could actually be "kidnapped or

threatened at gun point" and "do you want to specify?" and they declined to

clarify and just said "she was at the grammys" which obviously doesn't mean she

hasn't been threatened or intimidated by anyone in government which she most

likely has. Everyone Obviously Needs to Look at the Big Picture Here Plaintiffs

Priority has always been to Help Dr Swift. Then in a telephone conversation with

an assistant to the Alaskan Governor's Office a woman said people were being

raped in this country after Plaintiff asked "is it the apocalypse are women being

raped?" Plaintiff was talking about Public Servants and pretty sure she knew what

he meant. The recording of that conversation was sent to the News Media and
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 20 of 100 Page ID #:20




 posted all over Social Media and it is about twenty minutes long and in Plaintiffs

 12 Hour Film @ 6HR 56MIN and the SHour 20 Min Version which both Prove

 Plaintiff is the Greatest Vigilante TV Host in U.S. History even if Taylor was in no

 danger at all. What Mind Blowing stupid sociopath. Human Garbage from nyc

 would ever think Plaintiff should be criminally charged after this Marriage

 proposal and all that he has complimented Taylor. Plaintiff knows this wasn't her,

 See her Documentary Miss Americana She was sexually assaulted by a Radio

Host and made a complaint to his Boss he got fired and he sued her for Millions

she counter-sued for $1 and never even attempted to bring criminal charges

against him. Plaintiff is an infinitely better-Looking TV Host who has already

been the best thing to ever happen to Taylor Swift. She was still acting like a kid

before Plaintiff Proposed to her and told her he wants her to be First Lady of The

United States She immediately started dressing better. He also brought a lot of

attention to her from people interested in Politics that wouldn't have looked if not

for Plaintiff and obviously had The Eras Tour become a Presidential Campaign it

would stand out in History for that reason in itself. She released a track titled

"Vigilante shit" and Plaintiff thought she needed a Vigilante. Plaintiff did ask her

to let Plaintiff know she was okay or reach out to Fox 17 Nashville and let them

know she was okay however she didn't do either a simple request from the

smartest TV Host on Earth worried about her. Fox40 News in Sacramento
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 21 of 100 Page ID #:21



 Confirmed she was getting the Audio Messages Plaintiff had been Sending her on

Instagram. Taylor once stated she likes to invite fans to her House and "watches

them. on Social Media for Months and Months" the Video is on The USB Flash

Drives And. it was on The Graham Norton Show in London. Taylor wrote a song

titled tear drops on my guitar for a boy she liked named Drew Hardwick who

repeatedly ignored her he was criminally charged for aggravated child abuse after

a 3-yr old girl had to be airlifted to a children's hospital in 2015. Taylor Shouldn't

let a few of the hardcore conservatives in the Political Party keep her from

maintaining relationships with TV News Stations. Taylor opened her Documentary

Miss Americana talking about her first and foremost value in life was to be a good

person and a good influence upon Society why would Dr Taylor Swift not speak

with Plaintiff or Fox News Nashville who obviously care about her well-being.

Jimmy Kimmel recently said something aboutjaws hating Europeans an his Show

which is why our country is being flooded with immigrants to dilute the White

people and their votes. Additionally, there has been reported Genocide in South

Africa against the English years after giving the indigenous legal rights Plaintiff

Heard about it listening to NPR Radio and it was on the Internet. It once came up

in discussion with a second Home owner here in Long Beach and he was aware of

it although plaintiff surprisingly hadn't heard many people talking about it. The

Supreme court of The United States Does Acknowledge Reverse-Discrimination.
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 22 of 100 Page ID #:22




Plaintiff has also listened to Sean Hannity, John Batchelor, Carl Tuckerson, Mark

Levin and Dana Loesch. In the 1st Episode of The TV Show The Office Steve

Caren made a joke about there being two kinds of black people and that TV Show

was obviously very successful he also made a joke about being Hitler in the Pilot.

Many of Plaintiffs best friends growing up were jews and Plaintiffs grandfather in

law was a jew and a nice man Plaintiff used to play cards with him every time they

would visit in Palm Springs. What mind blowing dumb person wouldn't support

the Greatest Speaker, Debater, Conversationalist, Presidential Candidate and most

reasonable man in an Election. Whether or not the majority ultimately votes for

that candidate everyone should support Freedom of Speech and Authentic

Presidential Elections discussion debates and Everyone should be invited to Speak

as much as they want especially white people. Respondent Biden has most likely

allowed U.S. government employees to prevent Taylor Swift and Plaintifffrom

meeting, allowed them to order security to escort Plaintiff off the Premises and has

allowed them to Prevent the Eras Tour from becoming a Presidential

Entertainment Tour Campaign. Plaintiff didn't approve of the way Dr Swifts

employees spoke of her she is CEO and obviously boss however they didn't

appear to think so. Her employees made several statements off camera that

Plaintiff objected to Plaintiff thinks they were most just testing Plaintiff. Ong of Dr

Taylor Swift`s Employee Said on Camera "you took all my Talent". Few things are
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 23 of 100 Page ID #:23




 as obviously unethical as censoring Speech "cancel culture" would end the world

if not opposed by those with Ethical Values and a Brain. Plaintiff thinks the jews

likely have taken over after WWII and racist jews have it out for German

American Celebrity intellectual Soul Mates Like Dr Taylor Swift and Mr Mitch

Taebel. Plaintiff thinks he has been prejudiced quite simply for being a highly

intelligent Presidential Candidate. Dr Swift at all her concerts previously had VIP

Guest areas Red Room, 1989 Room,Rep Room where She and her employees

could invite a handful of Fans who stood out in the crowd to meet with Her before

and after the Show there is a video of her talking about in Exhibit 7 and in the

Film However Not on the Eras Tour. Mike Johnson our Speaker of the House has

suggested homosexuality which was considered a mental disorder in the DSM I,

II, III, IV and at one time a criminal offense in all fifty states be an issue returned

to the states, See Bowers v Hardwick,478 U.S. 186(1986). Approximately .5%

1/200 people in the U.S. Attempt suicide while approximately 33%that's 1/3

homosexuals attempt suicide. Additionally, they have higher crime rates and much

more likely to have STDs and have a much lower life expectancy. Promoting

homosexuality with the U.S.S.C. Is about ending the world and freedom of

speech. Plaintiff had a gay Jewish judge in Manhattan that obviously didn't think

the law mattered back in 2013 where Plaintiff represented himself in court through

a 12person jury trial with only partial success. In this weird gay stupid court room
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 24 of 100 Page ID #:24



without video cameras in Manhattan Plaintiff was acquitted of only one of three

charges in aself-defense case despite as Plaintiff argues in His Book Looking Out

For America that verdict being against approximately 250,000% the weight of the

evidence and clearly unconstitutional which requires reversal, Two Civil Rights

Division complaints are included in the Exhibits. The prosecutor kevin j. rooney

and is now a deputy district attorney in the san Joaquin county, CA who went to

Stanford charged Plaintiff for trespassing on his own property of approximately six

months the woman renting the apartment obviously wanted Plaintiff there she and

Plaintiff dated for years afterwards and are still friends State law gives residential

rights to anyone after 30 days they would have needed a civil eviction order to bar

plaintiff from their apartment what on Earth did this idiot bellhop think he was

doing assaulting Plaintiff for going to his apartment the prosecutor should have

obviously lost his license for even charging Plaintiff for trespassing And for

Charging Plaintiff with Assault. The prosecutor should have lost his license for

indicting Plaintiff for a felony over nine months after the unlawful arrest for a

misdemeanor in which Plaintiff received a desk appearance ticket for and Plaintiff

was Released immediately Never Posted bail Plaintiff flew across the country to

appear in court for a misdemeanor because Plaintiff is very careful and cares very

much about his future most courts would have respected that and been more than

willing to dismiss the misdemeanor of assault after the six month speedy trial
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 25 of 100 Page ID #:25



limitations required them to do so however depraved parasites human garbage

homosexual human bacteria maliciously prosecuted Plaintiff and refused to give

Plaintiff a preliminary probable cause hearing or hearing in the interest ofjustice

and just kept saying "this isn't your trial" refusing to hear exonerating arguments

and evidence or look at the video footage. The deputy district attorney sounded

like a complete idiot making the dumbest arguments imaginable read his affidavits

filed in court a blabbering idiot who made arguments so mind blowing stupid

Zealous arguments the jury was never even able to clearly evaluate the facts and

circumstances and apply the self-Defense Statute, See Taebel v. Sonberg

1:16CV6337 in the U.S.D.C. Southern District of ny; See Also 18-1883(2nd Cir.)

The bellhop assaulted Plaintiff and the video is on YouTube @MitchTaebel Titled

World Record Self-Defense Case! After Plaintiff wrote to the U.S. government

about it and they didn't back Plaintiff Plaintiff filed a constitutional Challenge in

the U.S. Court of Federal Claims arguing the Modern DOJ had expanded in excess

of the Constitution and Tenth Amendment See Case No. 18-25c And Later after

suspecting possible interstate stalking requested a Restraining order from U.S.

employees and unlawful surveillance. Taylor's father allegedly punched someone

in Sydney and has been investigated by Australian Law Enforcement Credible

News Reports State. The judge who apparently went to Harvard despite being a

complete idiot now retired was a member of a gay and lesbian judge association.
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 26 of 100 Page ID #:26



Plaintiff filed several complaints against the judge in the U.S. Courts once Plaintiff

walked into that Public Court room and an officer said the courtroom was closed

during a trail or hearing there likely has been hundreds of wrongfully accused and

maliciously prosecuted sentenced in that court. Plaintiff has had to work Much

harder to get anywhere in life after going to nyc which ruined Plaintiffs Life thus

far going there appears to have ruined the Country and the world. Plaintiff

believes he has faced resentment for Plaintiff's Intellectual Aptitude and high self-

esteem by the envious. Plaintiff had very few if any problems with anyone before

going there. The Woman Plaintiff was dating came running to the police station

defending Plaintiff and would have testified at trial but Plaintiff didn't want her

interrogated by the weird judge or prosecutor She Did send emails and Notarized

Letters in Plaintiff's Defense, as did Plaintiffs Parents and a Friend Galloway

Selby. Which were Filed in the U.S. Courts and Public. Plaintiff Sometimes

Enjoys Working for long Hours However the Maxim "Work Smarter Not Harder"

has been the Motto for all the Smartest Most Successful People especially by

Financial Advisors And Creative Artists. Plaintiff made virtually no character

arguments rather focused on the facts of the case which should have been more

than enough to get all charges dismissed Plaintiff later Realized Plaintiff should

 have made almost Entirely Character Arguments. The DSM I classified

 homosexuality as a "sociopathic personality disturbance". House Speaker Mike
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 27 of 100 Page ID #:27



Johnson said homosexuality would cause people to "marry their pets" and He is

obviously a Hero for saying that. Plaintiff is tired of homosexuals that have to do

weird stupid malicious things against straight people. The Judge stated three times

on record he doubted the sufficiency of evidence to prove beyond a reasonable

doubt three times however because there were no cameras or even authentic

transcripts and the jury was not able to ask questions during deliberation and they

had no idea what the sentencing range was for the charges a mislead and confused

jury made a very mistaken judgment in Zoo York city Read the 330 Motion

Dismiss Filed by Raisor & Kenniff who Plaintiff retained immediately after trial

Tom Kenniff represented Plaintiff at the hearing and appeared to be one of the

most competent lawyers in Manhattan in the YouTube search result and had Media

of him at News Stations Discussing Law with TV Hosts. The Judge Obviously had

an opportunity immediately after trial to dismiss the charges, after the 330 Motion

to Dismiss filed by the Retained Law Firm and after Plaintiff Filed a Much Better

440 Motion to Dismiss However because he had a "sociopathic personality

Disturbance" he Refused to do so and the dumbest people on the Planet put

Plaintiff in jail. Most people Massively underestimate the negative effects all this

has had on Planet Earth People Wake Up Please or take Plaintiff Work for it and

take objective action to the contrary! Plaintiffs Commercial Reel was Not Public

at that time if he had been able to use the TV Screen as requested he never would
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 28 of 100 Page ID #:28



have been found guilty of assault also Plaintiff made virtually No Credibility

Arguments Later Realized Plaintiff should have Made almost entirely Credibility

Arguments. Part of the problem is most people aren't really smart enough to

appreciate many of the things I say or do. I'm sure there are millions of people

around the world that feel harassed and disrespected by building management or

just rude people in general or depraved parasites even and when one of those rude

people steps way out of line like from another universe stupid and assaults a

respectable justified man going about his business he may lawfully get his ass

kicked and the Man who kicks his ass may be 1251bs lighter and 4 inches shorter

and a Hero for every tenant on earth and every justified person who has ever been

harassed by a mind blowing stupid bellhop or vile person. A depraved parasite

would try to tell you not to defend yourself and let that parasite kill you but a Hero

a Man any respectable person Defends themselves standing for all who are

justified peaceful civilized respectable positive additions to our planet when those

parasites cross a line and actually assault a Man. Plaintiff is smarter than everyone

because Plaintiff is a Film Director and TV Host and everyone should remind

themselves of this before anyone is dumb enough to think Plaintiff is not smarter

more justified and more respectable than they are Plaintiff is smart enough to kick

anyone's ass in a debate whether on TV Radio in Public Speaking or in Affidavits

in Court. What is a Parasite? Everyone must ask themselves this. Many people
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 29 of 100 Page ID #:29




 will agree a person who quite simply has ill will for others who has no intentions

of being a respectable member of society and a good person is a parasite.

Criminals especially habitual criminals are parasites with the exception of illicit

drugs in Plaintiffs opinion which should be decriminalized as it has been in

Portugal and Oregon with Reportedly tremendous benefits. It Could Save the

 World if Everyone thinks about this and people are smart enough to be able to

discern parasitic behavior from non-parasitic behavior. Plaintiff Supports

Autocracy. Criminal behavior is clearly is parasitic to society especially when

committed by public servants. The public employees who were responsible for

that malicious prosecution are and were compelled by envious homosexual

criminal parasites with no regard for law,justice or The Absolute Right of Self-

Defense. If Truman was justified Bombing Japan fur their unjustified attack on

pearl harbor which he most definitely was and Israel was justified killing over

twenty times as many people as Hamas did then Obviously Plaintiff was Clearly

Justified Defending Himself while going to his Apartment Minding his own

Business. Plaintiff is a Very Talented Professional in the Most Competitive

Industry a formally trained Actor who invested his time and His Own Money into

 Moving to Los Angeles after graduating College, a Professional Photo Shoot to

 get Started and Acting and Dance Classes Plaintiff was very Busy worked out

 twice a day and recalls having three Auditions in a day in L.A.. As the police
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 30 of 100 Page ID #:30



 reports clearly stated Plaintiff had no criminal priors had earned a college degree

 the year before and had Talent Agents Competing to represent him in Los Angeles

 and on the East Coast. Everyone should definitely agree criminals are essentially

 parasites. It Could save the World if People are smart enough to discern acceptable

 behavior from parasitic behavior. If homosexuality was considered a capital

 offense for thousands of years and still is in many countries it would be insane

 impose it upon people with the U.S.S.C. We have fifty states for a reason and

Plaintiff very much supports authentic democracy in each. state especially on this

 issue. Plaintiff later found Supreme Court of The United States Law that

exonerated Plaintiff immensely in addition to every state self-defense statute, See

Brown v. United States, 256 U.S. 335 (1921); Rowe v. United States, 164 U.S. 546

(1896); See Also John Bad Elk v. United States, 177 U.S. 529 (1900). That judge

was one of the dumbest individuals Plaintiff has ever witnessed was not until then

aware that at least 99% of lawyers and judges have never read any Supreme Court

of The United States Law on Self Defense and that in law school they apparently

teach their students the law is arbitrary and meaningless and to do whatever the

district attorney's office wants. The Law is Obviously Not supposed to be

Arbitrary or we would have stayed in England. This is not the stone age. Those are

the Biggest Supreme Court of The United States Rulings on the subject and

anyone who hasn't read them virtually has no understanding of Self-Defense
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 31 of 100 Page ID #:31



whatsoever. The court 1) wouldn't even allow Plaintiff to use the TV Screen to

Present Evidence and talk about the evidence, 2)The judge wouldn't admit a text

message that proved Plaintiff knew exactly what he was doing and had not lost his

temper and assaulted the bellhop rather consciously acted in self-defense the text

message to his girlfriend stated "If the bellhop touches me I will beat his ass", 3)

The judge wouldn't allow Plaintiff to make an Audio Recording of the Trial, 4)

The judge stopped the trial for 9 days and pretended to get sick after Plaintiff

made a powerful opening statement, 5)the judge interrupted Plaintiff a number of

times as Plaintiff as Plaintiff was making compelling Arguments,6)The judge

Made Prejudicial and bias Statements as did the deputy district attorney. Plaintiff

never should have been arrested and it shouldn't have even gone to trial. If a

person accused of a crime has exonerating evidence a court must hear that

evidence to determine whether or not a case should be dismissed in the Interest of

Justice. Public Defenders in accessory to kidnapping, malicious prosecution,

conspiracy etc. pretend to be stupid and intentionally get their clients convicted all

the time. A Public Defender is probably the worst job imaginable because they are

expected to incriminate themselves and they work with the last people on Earth

any sensible person would want to work with working anywhere in the criminal

justice system is a terrible profession. Obviously, any lawyer or judge who works

in the criminal justice system is either weird or not smart enough to practice Civil
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 32 of 100 Page ID #:32




 law. Plaintiff Never should have went to Nyc the city of spiritually depraved

 human beings. Plaintiff has felt harassed and prejudiced by homosexual

 Government employees ever since, monkey see monkey do is apparently the

 philosophy for employees who work in the criminal justice system and who often

 omit Professional And Academic Achievements and Google Search Results from

 reports. There is currently an officer in custody in Australia for the murder of a

 Celebrity TV Presenter and his Partner. Plaintiff thinks the obvious biggest threat

to Our Country are the sociopaths that work in law enforcement and most likely

the gestapo caused the holocaust they obviously didn't stop it. In U.S. V Guidry,

(5th Cir. 2°°6)a then officer in San Antonio TX raped Denise Limon and he and

his partner sexually assaulted five other women they were prosecuted under the

Civil. Rights Act and Sentenced to 38 years. Abner Louima was raped in a Nyc

Police Station with a broken broom stick and hospitalized that officer signed a

plea deal for thirty years to avoid a death penalty. Plaintiff thinks people are insane

if they don't think anyone sentenced to prison shouldn't be able to opt for death by

lethal injection before ever going to prison it will obviously save the tax payers a

lot of money and would be much more humane. Jail is a billion times worse than

death as Plaintiffs website clearly stated which was deactivated after Plaintiffs

Kidnapping. No decent human being should have any tolerance for Torture in this

Country someone shouldn't have to commit a capital offense to get a death penalty
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 33 of 100 Page ID #:33




if that's what they prefer. The U.S. Ninth Circuit Court once Appointed a U.S.

Attorney to one of Plaintiffs Complaints And He Stated what the government was

doing was "Torture". Plaintiff had previously represented himself twice in traffic

court in Los Angeles and was 100% successful both times. Plaintiff First Speaking

role was on Americas Court the Television Show Produced by Entertainment

Studios. Plaintiff also chose to take Public Speaking in College as an Elective.

Plaintiff attended Arizona State University for Film and Media Production briefly

in 2018 Plaintiff earned a Degree from Colorado Mountain College in 2010 before

he moved to Los Angeles to work in Television and Film Production. Plaintiff had

Talent agents in Los Angeles and Manhattan immediately after printing comp

cards and Had Talent agents fighting over him after Plaintiff released his

Commercial Reel. Plaintiff was more successful than most A-List Actors when he

started working in Entertainment and that was before the Entertainment Industry

knew he is The Greatest Stand-Up Artist in Entertainment and an Exceptionally

Talented Singer. Plaintiffs Best Talent Agency that Represented him was

Expecting Models, CESD also offered him Representation however Plaintiff had

already Signed with L&L Talent in Los Angeles Midwest Talent Represented

Plaintiffjust to name a few. Prior to this the only girl Plaintiff ever sang for was

Sarah Summers the Playboy Model from Sedona where Plaintiff graduated High

School. The Entertainment Industry is the most competitive profession on Earth
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 34 of 100 Page ID #:34




and it Pays much More than any office in Government. Plaintiff is a Social and

Comedic Genius and knows exactly what he is doing at all times as Plaintiff asked

his lawyer to tell everyone after his unlawful arrest and kidnapping. Plaintiff is

tired of being kidnapped and harassed by government employees who are not

smart enough to have a sense of humor or even understand what's going on and

trying to be the man with people much smarter than they are like Highly

Intelligent Award-Winning Film Director and TV Host and contently think about

arresting or even kidnapping people to feel like a man. Plaintiff was already

booking work at $2,500 a day as an independent contractor in Marketing and

Entertainment at the age of twenty-four which is over 200% what the President of

the United States makes. Plaintiff was Cast in an ESPN Super Bowl Commercial

Wikipedia Says was seen by over 162 Million people in the United States. Plaintiff

watched the Commercial play on TV during the Super Bowl with his roommate

and friends when Plaintiff was Living in Los Angeles. Plaintiff was cast in a

National Xoom Commercial for BBC,a Yahoo Genome Commercial and a Farmer

Boys Commercial that played on TV all over Southern California. Plaintiff has an

IMDB (Internet Movie Database) with 18 credits as an Actor, 8 as a Director and 6

 as a Producer and production companies do not always list all credits on IMDB

Plaintiff has worked on many more productions. Being cast for anything in the

 Entertainment Industry is very similar to winning an election elected by very
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 35 of 100 Page ID #:35




talented and intelligent people who own and work with Networks, Production

Companies, Talent Agencies, directors and casting directors. After Plaintiff was

kidnapped a girl freaked out after she saw the bad media coverage and after a

relative that knew who Plaintiff was had seen Mr Mitch Taebel on TV in the

Media then calling that woman on the telephone and telling her about it then she

all excited over the bad press coverage made a complaint against Plaintiff and

while a sensible officer would have helped her calm down and reminded her that

Plaintiff is a TV Host Comedian Speaker Actor Published author and Presidential

candidate etc. who is a very civilized intelligent respectable member of society the

officer did not do that instead they used it to take a cheap shot at someone they

probably see as an aristocrat with incomprehensible intelligence insight and talent.

It is clearly unprofessional and unethical grounds to bring charges against

someone by someone who is not only making false allegations but who clearly

overreacted to bad press coverage from an illegal unjustified arrest where the

prosecution dropped all charges after looking at the facts and circumstances

closely. Plaintiffs Attorney Beth Flynn Stated if they didn't dismiss the charges

Plaintiff would be able to Sign a Plea agreement for time served so there definitely

 wouldn't be any more jail time either way but they definitely need to drop the

charges. Obviously, these are not grounds to bring criminal charges against a

Presidential Candidate for fraudulent and void allegations of stalking against the
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 36 of 100 Page ID #:36




weight of evidence. Obviously if someone does something illegal a person is

obligated to report it immediately and it can be dealt with a person cannot claim

that someone bothered them months or years ago then have them charged with a

Felony Plaintiff has been attacked by human bacteria who are not smart enough to

comprehend how wrong they are. Do Judges, prosecutors and police not know

how to use google or Social Media any competent person involved in arresting or

detaining a person should know how to use Google and figure out who they are

Speaking to or are they not smart enough to have any idea what they are looking

at. An obvious sign of a police state is when a district attorney's office does not

decline charges filed by police in common Practice. That woman is named Kristen

Elizabeth Field and she has Pictures on Facebook with Hillary Clinton Kristin

Field Picked up Mr Taebel from the Airport when he flew into the San Diego

Airport they went to her Apartment and had sex as the police reports describe

before Plaintiff Traveled Around the Circumference of the World on Semester at

Sea with Approximately 700 Scholars from around the World Plaintiffs High

School Prom King and Quarterback David A. Rich then met up with Plaintiff

giving Plaintiff a ride to meet up with his fellow scholars on Semester At Sea after

they went to his House to meet his Fiance. Kristen Field alleged Plaintiff had

stalked her at a family party in Illinois a few years later then in text messages

included later in the reports she revealed that she and Plaintiff"hooked up" at that
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 37 of 100 Page ID #:37




party and that Plaintiff was invited to sleep there she gave Plaintiff a hand job at

that party Plaintiff was not stalking her as the text messages proves. She also

describes she and Plaintiff meeting up in Chicago a few years later and spending

some time together in the City after Plaintiff flew into the Airport From Los

Angeles. Kristen Field two years older than Plaintiff claimed Plaintiff has been

"infatuated with her" since she got into High school which is not at all true and no

one would believe that. Plaintiff dates models and playboy models and has never

dated a woman overweight and she has always been a little overweight and dates

overweight unattractive men. Kristin Field said she wants to run for Senator

however making false allegations against someone is attempted kidnapping or

kidnapping conspiracy fraud accessory to malicious prosecution etc. a number of

serious crimes that have no statute of limitations so it would be Much better they

work this out and remain friends. Plaintiff knows this is a desperate attempt for

attention and Media Coverage by Kristen Field who works at friends of Prentice in

Chicago, The Public Docket History for the case is viewable on mycase.in.gov.

There Clearly was never probable cause because a prosecution would have to

prove beyond a reasonable doubt that 1) Plaintiff"intentionally" and "repeatedly"

harassed her and 2)that a "reasonable person" would have reason to fear illegal

 harm from Plaintiff. To allege that anyone would have any reason to fear any

 illegal. threat from Plaintiff is absolutely ludicrous and everyone knows it. Plaintiff
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 38 of 100 Page ID #:38




is a very hardworking intelligent Man who only wants to make money creatively

in Entertainment and Marketing and be Married and have a family of his own. The

Most Serious allegation is that Plaintiff had messaged her after complaint irritated

by Plaintiffs Presidential Campaign messages asked Plaintiff to stop messaging

her despite continuing to talk to Plaintiff in person a number of times they saw

each other in Plaintiffs Neighborhood after that. It Appeared to be a Political not

personal Issue for her Plaintiff and Complainant have been Friends for Many

Years in attempting to defend the Constitution and everyone's Liberty and Purpose

in Life Plaintiff often would Copy Paste Messages with links to Media intended to

be shared with as many contacts as possible She May have thought something

weird like Plaintiff wrote the messages explicitly for her which he obviously did

not. Plaintiff asked Fox News Sacramento if they have ever heard of sending

emails to all contacts being illegal and they said "No". No one else had a Big

problem with Plaintiffs Social Media Campaign Plaintiff Messages thousands of

contacts The Media who often thank Plaintiff for Sharing, Elected Officials Like

Nikki Haley, Kristi Noem, Sarah Palin, Tulsi Gabbard, Friends with Pictures with

Joe Biden and other Presidential Candidates Most People find aStart-Up

Presidential Campaign Very Interesting or Entertaining at the least The Smarter

People are The More they Appreciate it. How Could Anyone Not find aStart-Up

Presidential Campaign Interesting especially by someone they kind-of know or
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 39 of 100 Page ID #:39



personally invited them to watch the Campaign She Was Most Likely intimidated

by Government and scared even which Means this is obviously an insanely

unjustified malicious prosecution and Capitol offense of Treason, and Attempted

Kidnapping etc and they need to drop the charges against this Very Justified

Presidential Candidate Immediately. Plaintiff often has Assistants Copy Paste

Messages and Comments for him and doesn't always even look at the contacts

specifically. We are Obviously not talking about a criminal offense here to anyone

who has a brain. The judge on that case recently granted a district attorneys

motion to revoke Plaintiffs $750 bail for travel restrictions Plaintiff and his family

were entirely unaware offor visiting with his family his younger Sister who has a

Master's Degree from Ball State and who is Married and pregnant with her second

baby girl after she and her Husband who is aVice-President Financial Advisor at

Chase just Bought the Governor's House and for traveling for Work Speaking at

Events and Open Mics and other Necessities. This complaint was drafted before

Plaintiff was unlawfully arrested for traveling outside the area Plaintiff has never

had a judge impose travel restrictions after post arrest release and unfortunately

Plaintiff has had to post bail before in other states Plaintiff was released O.R. With

GPS tracking after he told the judge Plaintiff feared for his life in jail which was

very true. Plaintiff is currently restricted to his own property with few exceptions

which is totally insane for a Presidential candidate accused of bothering someone
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 40 of 100 Page ID #:40




many months or years ago and his family is trying to post bail to relax travel

restrictions if they don't Dismiss the charges first. Plaintiff needs to be able to

travel out of state for a number of reasons and to help his parents drive to see

Plaintiffs sister who is due April 13th and li`'eS almost three hours away Plaintiffs

father is 83 years old somewhat senile and if he had a heart attack driving on the

highway both of Plaintiffs parents could be killed and other drivers on the road.

Plaintiff has already filed a complaint and First Amended Complaint against the

complainant proving there was never probable cause to arrest Plaintiff in the first

place and certainly not now after Plaintiff has responded to the allegations in

writing anyone with a brain would be able to see the charges are completely

Unjustified, See Mitch Taebel v Kristen Field 224CV38 in the U.S. District Court

in Hammond. Plaintiff mailed copies ofthe complaint to the Media Indiana

Governor Eric Holcomb to the Judge John A Link to the district attorney's office

and delivered in person and via email copies to the secretary of Plaintiffs attorney

Mladenka And Frank Rodriguez with a letter regarding travel restrictions to which

they have never responded. These lawsuits should get Media coverage and are Po-

Se Complaints Written for the Media, Public, Courts, Google and can be

downloaded by anyone anywhere on earth from Pacer.gov. Congress or the

Supreme Court needs to bring back the "Fairness Doctrine" which requires the

Media to cover both sides of public issues covered. Why is the world would the
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 41 of 100 Page ID #:41



FCC invalidate the Fairness Doctrine against the interest of public awareness and

fare debates and discussion. The "equal-time rule" still in effect requires the media

to give political candidates which Plaintiff most certainly is an equal amount of

time. The lawsuits contain the police reports and clearly proves there was never

probable cause to unlawfully arrest Plaintiff in the first place as only a few of the

allegations are even arguably illegal entirely lacking "Hens Rea" a necessary

element of a crime and in no way would constitute an F6 Felony even if they were

true which they are not. The officer who made the report likely gay accused

Plaintiff of being a "Sovereign Citizen" which he is obviously Not as clearly

stated on Plaintiffs website, in Plaintiffs Book and in a number of Plaintiffs

Complaints filed in Courts and made other blatant prejudicial false irrelevant

allegations to get a warrant the officer obviously needs to be fired. That officer

made a Number of Very False Claims alleging that Plaintiff was "trespassed" from

Blue Chip Casino Where Plaintiff has never had any issues and the Four Winds

Casino where Plaintiff can go any time he likes. Plaintiff also visits the Hard Rock

Casino and has never had any issues there either Plaintiff sent them his social

media and they invited Plaintiff to a job Fair However Plaintiff was interested in

working as a Performing Artist as a Comedian or with a cover band. The officer

made in detail false allegations that Plaintiff had spoke to young girls about sex

which is not true while the age of consent in Indiana is apparently only 16 Plaintiff
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 42 of 100 Page ID #:42




However has never even mentioned sex to any Young Ladies under the age of 21

Plaintiff made a video complaining that while casual dating may have been

acceptable when Plaintiff was in his twenties women especially in bars and in their

thirties often have STDs Plaintiff read that 2/3 women have HPV and sometimes

leads to ovarian cancer and leaving women unable to bear children and Plaintiff's

obvious priority is getting Married to his Soul Mate and this Has always been his

highest ultimate priority in Life and wouldn't feel right about having sex with

women he is genuinely not interested in and taking any chance at contracting

STDs which could jeopardize his highest priority in Life getting Married to

Plaintiff's Soul Mate and having children. Plaintiffjust wants to get Married then

figure everything else after. Many law enforcement officers frankly aren't smart

enough to have much self-control or sense ofjustice and tend to abuse any

discretion for a sense of power a Man Should always have reserve. And often they

aren't smart enough to discern human behavior from non-human behavior. The

officer who made the false report did not go to college and he used to work in the

county jail and by choice we can assume or maybe no police departments would

employ him because he wasn't smart enough only an insane person would work in

a jail by choice based on the police reports he likely wasn't smart enough to get

any job at a police station. Taylor Swift is a Public Figure as is Mr Mitch Taebel

who as a TV Host, Vigilante, Commentator or critic has an absolute right to say
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 43 of 100 Page ID #:43




just about anything he wants about Taylor absent intentional false malicious

statements, See New York Times Co. v. Sullivan, 376 U.S. 254(1964) Something

very perplexed employees of government have made clear they didn't understand

and where not aware of. There was a Temporary restraining order filed 23c1033 in

Nashville Eighth Circuit Court however it is Null And Void And will not keep

Plaintiff from getting Married to his Obvious Soul Mate and carries a $50 fine for

a violation and could never have been legally be enforced. Plaintiff Recently Filed

a Motion to Dismiss and then a Motion to Vacate judgment and a Supplemental

Motion to Vacate Judgement with a 16 GB USB Flash Drive With Media. No

woman had ever fled a restraining order against Plaintiff. Women especially

popular attractive and confident women have always liked Mr Taebel all women

like Mr Taebel unless they are weird, very insecure or possessed by bad spirits.

Plaintiff has reason to believe that Taylor either had nothing to do with it or was

either intimidated, threatened or pressured into allowing her management

employees to have her lawyers file it. They wouldn't have even been able to get

the order had they not alleged in the petition that Plaintiff sent messages that he

didn't send. Plaintiff called the Republican State of Tennessee Governor Bill Lee

and left a message complaining about homosexuals and the fraudulent and Void

Petition then posted the Voice Mail on Instagram. Plaintiff wanted a Public debate

over the fraudulent, Null and void order if they didn't dismiss the petition and
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 44 of 100 Page ID #:44



called a few news stations about it stating he would fight for his soul mate if he

had to on TV and Radio then sent an email to all contacts with the petition

attached explaining that Taylor Swift is a Public Figure and Plaintiff has the

absolute right to talk about her as much as he wants and since the petition was

fraudulent they needed to dismiss it and not enforce it in the meantime and invited

them to cover it Headlined Taylor Swift Filed Restraining order against

Presidential Candidate which would lead to a Public awareness and a debate

Plaintiff would Win. A discussion that would help Taylor and help Taylor and

Plaintiff Meet Immediately either in over the phone or in person. Usually when

Taylor Swift does anything especially filing a Temp Restraining order it usually

gets Media Coverage. Plaintiff said he didn't send those threatening messages on

Publicly on Instagram and decided to protest the fraudulent order out ofjustified

necessity and since Taylor didn't block him on Instagram which is very easy to do

Plaintiff made a video of him sending an audio message stating "Taylor I Love

You We Are Getting Married" And Posted it. Plaintiff after stating the evidence in

the petition was fraudulent and therefore an unconstitutional and void stated if

anyone arrested Plaintiff it would be kidnapping and they could obviously be sued

Google search results also said it is usually a misdemeanor to violate a Temporary

Restraining Order in Tennessee however by the courts order it appears to have

been an infraction. Plaintiff knows a guy from high school who was a once
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 45 of 100 Page ID #:45




violated a restraining order in Colorado while in College he was arrested and got a

blow job from a female officer before he was released the girl was probably the

most unattractive woman he ever dated and he now dates Very Very Attractive

girls Keith Richard Gerdes who is a Model Now has pictures with Celebrities on

set and who is 6'S" a Good Athlete who can do 720s over 80 ft doubles

Snowboarding and who Plaintiff Boxed and Won with two witnesses. A woman

who obviously knew why Plaintiff was there tried to Kiss Plaintiff while Plaintiff

was illegally detained. Plaintiff expected to be able to discuss the Petition on TV,

Radio and Social Media and convince her lawyers to withdraw the Petition

Plaintiff and was Planning on calling Her Lawyers the Day of Her Concert in

Chicago which was the day Plaintiff was unlawfully Framed and kidnapped. How

that Conversation went discussing the fraudulent, Null and Void order that

couldn't lawfully enforced went would have determined whether or Not Plaintiff

Would have gone to the Concert. Has Taylor Swift been threatened and

intimidated by government or corporate bullies these are questions a lot of people

including all of her fans would very much like to see discussed on TV, Radio and

Social Media in the interest of Taylor Swift and the Future of America. Plaintiff

Recently saw a Press Statement made on TV by a Dr Caroline Heldman and a

group of Artists describing a Coalition of organizations against "rampant rape

culture" in the Music Industry the Press Statement in in Google and on YouTube.
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 46 of 100 Page ID #:46




Are Taylor Swift and Dua Lipa victims of a sort of"human trafficking" is a

question many people including her fans would very much like to hear a definitive

answer No from Plaintiff although it appears they could be. When Plaintiff Saw

Dua Lipa at Lallapalooza Plaintiff was given front row access to an area only a

few people had been admitted to and when Plaintiff pointed backstage implying

Plaintiff would meet her there after the show she gave Plaintiff the impression she

wasn't allowed to go back there and Meet with Plaintiff after the Show. Dua Lipa

is one of the Most attractive Pop Stars on Earth the Biggest Star from the U.K. and

She Looked at Plaintiff like She Definitely thinks Plaintiff who had messaged her

on Instagram prior to the Concert is Very Attractive And She Very Much Wanted

to Meet With Plaintiff however was not able to. Plaintiff would have expected any

competent law enforcement to first figure out Plaintiff had Not sent those

messages before kidnapping Plaintiff by unlawfiil arrest anyone assessing the

situation was looking at Plaintiffs Instagram and Plaintiff thought a video of him

Saying he didn't send those messages should have been considered even more

credible than any written objection. The Civil Rights Division never even

contacted Plaintiff in an investigation or in any way indicated they were interested

in enforcing the law. Plaintiff of course does Not want Taylor Swift or any of her

employees criminally charged unless Dr Taylor Swift has been harmed. At least

9/10 people in state jails didn't even bother to graduate High School or weren't
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 47 of 100 Page ID #:47



capable of graduating. Bill Gates, Steve Jobs, Mark Zuckerberg and Many of the

Most Successful people only had about two years of college or less which is why

Plaintiff only Completed an Associate of Arts Degree which is more than enough

to be President of the United States as twelve Presidents didn't even graduate

College. John Lewis apparently was arrested Forty times before he was Elected to

United States Congress Anyone has the Absolute Right to Run for President of

The United States. Twelve Presidents didn't even graduate College. Truman didn't

graduate College and didn't go to college until he was 39 years of age. Plaintiff is

very impatient and when Plaintiff and Taylor Swift still hadn't met Plaintiff stated

on social media he might have to start making fun of people and criticizing them

for incompetence if they weren't helping or suggesting Taylor and Plaintiff meet.

Plaintiff who borrowed over $2,200 to attend the Eras Tour in Nashville to Meet

Taylor Swift was escorted out of the stadium and didn't allege Plaintiff had even

done anything wrong when Plaintiff asked them three times in a 41 Minute Video

clearly stating on video it was the stadium security and not Taylor Swift or her

employees, The Video is included on a Media Disk in the Exhibits. Here is a

Transcription of Most of the Dialogue with Dr Taylor Swift's Employees:


"What's up how are you do you need VIP Access back here [Female Security Says

something something Granting Access]"I got it I'm Good Right" Heading Back
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 48 of 100 Page ID #:48




 Stage Approximately 10-15 Steps in Guy Approaches "Can I see your ticket?"

Pointing to wrist band received after scanning Electronic Ticket the Second Time

For Floor Access "that?" "what's your name?""Mitch you know who I am come

on I'm a celebrity you know who I am""Do I?""I'm a celebrity what's up""I was

just making sure I was just, can I see your ticket" "yeah sure I guess do I need to

upgrade I paid like $2,200 for tickets do you want to see my receipt I mean""this

guy is going to ask you some questions we are going to take care of it" "oh well I

haven't done anything wrong have I?" "It's Not my decision""Is this is the

opening, this is the opening, who is the opening artist here, I came to see Taylor

Swift she's up next right?""where are we going we are going the wrong way here"

"we are going back here we have to have a little conversation""I can't have you

record backstage""okay""you can record Audio""were going backstage alright

no recording back here let's see what's happening""do you have your ID on you"

"ID yeah go ahead""I just want to make sure thank you""I was hoping to work

with.. PBS TV Host.." "thank you you are Mitchell Taebel is that how I pronounce

it""Taebel Taebel yes""Got it" ``Give me one more second I apologize let me see

if I can get a hold of this guy real quick""make money, more money, let's have

some fun and make some money""sorry roan""what's up""I'm trying to get a

hold of her manager real quick" "did I draw too much attention to myself I was

just walking around, I was excited waiting to see her, I drove so far, I came all this
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 49 of 100 Page ID #:49




way""you drove here?""yeah""with an Indiana license""oh yeah it was like

seven Hours""did you drive today""yeah""now I'm missing the show""it hasn't

started yet I promise you that""but you drove down here and you'll drive back

tonight? "well I was definitely planning..""but you didn't book anything""yeah

that's true" "that's busy man that's gunna be tuff he's finally getting back to me he's

making his way""just waiting on the manager you said you reached out to

management right""yeah management I left them a message I told them I was

going to be here""yeah I bought tickets I let everyone know I posted it on social

media I'm a celebrity a lot of people are looking the media is looking everybody is

looking so yeah I assumed I was definitely welcome yeah like everybody else who

bought tickets" "I didn't have you on the management list so I'm just trying to

figure out if the manager is coming""okay I'd like to get on the management list It

will be good for everybody I guarantee it""you said you left them a message

right""yeah I did" "alright" "Taylor definitely knows who I am so you can just

just let her know I'm here" "well it goes through the manager first... so we'll figure

that out""Emma Stone Selena here, Selena Gomez""Selena something something

but she's taking a break""they just wrapped filming I think she is taking a break

for a little while""what are they filming out there right now?""they are filming

only murders in the building have you seen that?""No a series or is that.." "its like

a Netflix series Martin Short and steve something something Steve Martin""I
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 50 of 100 Page ID #:50




came a long way to see Taylor Swift" "excuse me do you have any ID on you?"

"yeah I just gave it to one of these guys Here""okay great""13 management do

you see Taylor Swifts manager here I want to say hi""I don't know who that is"

"oh okay""I'm wearing Versaci Taylor Swift wears Versaci""you guys can

Google me I'm a Celebrity I know you guys know who I am""I was Asking For

Backstage Passes then I Posted it and I took back down""so what's your

Instagram""Name last name Taebel""Mitch, ah Yeah that's you, Comedian too?"

"Yes Smartest Man in America Comedian, Film Director, Singer, rapper""I know

I got to be on Taylor's Team She is the only one I Want to Work With""you're the

one who took all my Talent""I'm going to be Good for the team I guarantee it" "I

got one good idea after another they're so good it just I Like to Make My

Propositions irresistible" they Laugh "the greatest propositions anybody has ever

heard""Good you have one new Follower""Cool""this is the Intro""I can't

believe you have never seen her live before" "this is Definitely the Intro Song, this

is the Intro""Come on everyone knows who I anl I know it I'm Taylor Swift's

Soul Mate""Are you guys going to let me out there, I'm missing the Show

everybody, I'd very much like to go out there" Taylor is Singing in the Background

"Best Business Partner I'm going to be MVP on this Team I guarantee it" "I'm

 missing the show this is not right""Do you guys want to Google or""I Am""We

got to walk this way""oh come on I'm missing the Intro to the show here this is
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 51 of 100 Page ID #:51




terrible not right not right at all I guarantee I'll make you guys so much money"

"I'm a TV host I say I'm the smartest man in America on TV I came here to work

with Taylor""on cable or on the Internet?" "What's that`?" "Yeah Yeah""like a

broadcast Station?""Yeah Yeah""I've Seen Your Instagram""See My YouTube

I've got a PBS..""Same Name?""What's that""Under Your Name?""Yeah Yeah"

"You don't have an Alias""No no I do Not I'm a Celebrity" "You're Invited to

Google Me so what's up?" additional security personnel approach "we don't feel

comfortable with you being on the property""aw that's terrible that's unfortunate"

"yeah""can I get My Tickets Refunded I Mean what is this? This is ridiculous"

"we can follow up on the ticket side, we can follow up on the ticket side later we

 don't feel comfortable with you being on the property""Who's that?" "T'he

 Stadium""The Stadium""The Stadium?""Yep so we are asking you to leave"

"So it's Not Taylor Swift or her team this is the stadium`?" "I'm asking you to

 leave""yeah I heard you I'm just clarifying" "I'm asking you not to come back on

 the property""okay you don't have to tell me twice I'm out of here alright" Mr

 Taebel Very confidently bolts for his car the guy that he had been speaking to

 previously Suddenly Very Interested in Speaking with Plaintiff Follows "You have

 a phone Number so I can follow up about your Ticket" Mr Taebel gives phone

 Number "I've never been banned from an event for having too much fun or

 bringing attention to myself I didn't do anything wrong nobody said I did anything
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 52 of 100 Page ID #:52



                                                                                          I
                                            , I dunno, I can't tell you exactly, listen
wrong right it's just like""I, I have No

        my job " "I' m not sur e I'll fol low up, I'll get the details and I have your
just do
                                           't leave you hanging""I'm the Greatest
phone Number We'll follow up we won
                                          d I if You guys don't know who I am you
Celebrity in America Taylor Swift An
                                        , now I can     dive in" additional personnel
guys got to figure it out""I got it now
                                             "yeah I gave this guy, you guys got my
 approaches "you got any social Media"
                                                "you put your ticket up earlier then you
 name so I gave him my name my card"
                                                                                         I
      it down  is tha t wha t you 're tel lin g me ""The ticket on Instagram?""I think
 took
                                                                                        ia
                                              k it down""you have multiple social med
 posted that I got a Ticket and then too
                                   m going to div         e into your Google""was I not
 or just the one?"(someone asks)"I'
                                        ne       I was coming and I didn't hear back
 supposed to do that? Well I told Everyo
                                    it I made it Public" Ins       tagram users often use
 from anybody back so I just Posted
                                      stores Media        in chronological order for
  the Instagram Archive feature which
                                                                                     s
                                        pla   ce in their News Feed any time "you guy
  future use and can be returned to its
                                                                                 "I got
                                          mean I can't believe this is happening"
  have my number right reconsider I
                                      kn         ow they let me backstage at Lallapalooza
  your number so we'll follow up""You
                                           kstage and I meet the Artists and The
  and other events and they let me bac
                                       es with them and we meet on camera            and
  Celebrities on Video and take Pictur
                                                                                 I
    ver yth ing I mea n I'm the Gre ate st Celebrity in America Taylor Swift And
   E
                                             ridiculous""I want to learn more things
   What's Happening Here this is totally
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 53 of 100 Page ID #:53



about your YouTube Your Instagram How do we Find out More about You?""I

won't mention anything about Running for President Again I won't mention it"

"Do you have a Website?" "I came to work with Taylor, Mitch And Taylor See

Taylor And Work With Taylor that's what I'm Here to Do um Yeah I Dunno what I

got here too Early""So do you have a website for your Presidential Run`?""Yeah

Yeah I Do but we don't have to mention it I shouldn't have mentioned it once I

don't know if that's what just happened""Yeah I just came to Buy Tickets And

Have a Good Time Nothing Wrong With Running For President is there?""No,

No Ambitious Man""I got a letter from Biden I think He Supports the Campaign

~1nd He Said thumbs Up I'm A PBS TV Host Either Party We Can Go for Either

Party I Said Taylor Swift is Going to be Vice-President of The United States or

First Lady I Dunno We Can just be Business Partners" "there you go""We Can

just Figure it out so I Dunno""Ah Yes She Can be Vice-President I Said You Can't

Say No to that We Got to Talk We Got to Meet And talk About it so Anyways"

"Yeah I'm An Award Winning Filmmaker so I Just came to Make Money I know I

can make Taylor And You Guys A Lot of Money And Help Make a Lot of Money

Here So um I've got a lot of outstanding tremendous Ideas Anyhow""You got any

scripts in the Works?""No 1 Can Script a Show Anytime 1 got a Reality TV Show

I Said if Taylor Wants to do a Reality TV Show We Should Do a Reality TV Show

I Got All Kinds of Ideas""You got a Twitter under your Name or is this a different
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 54 of 100 Page ID #:54




Person""I Do Have a Twitter Yeah, I Don't Mess with Twitter A Whole Lot but ah

I Do Have a Twitter Yeah""So I Found a Mitch Taebel I Just Didn't know if this

was You My phone is being slow""Ryan Seacrest I Met Ryan Seacrest He Liked

Me a Lot I met Michael Bloomberg Billionaire He Went out of His Way to shake

My Hand""You Go Out to L.A. A Lot then?""Yeah I Work in L.A. I Work in

Hollywood Yeah""You said you drove down from Indiana How Much time you

spend in Indiana""Usually Not that Much 1 Prefer to Stay Working in I,os

Angeles there""You Drive out there or Fly?""Both Both" "that's a Drive, You

Must put Some Serious Miles on Your Car, Is that You?""That's My Twitter

Account Yes it is Yes it is""Who's that with You?""I Wish I could talk You guys

into letting Me Back in There I Don't Know What's Happening What just

Happened there Yeah I Go to Lallapalooza I've Been to what else Ultra Music Fest

What's the other one EDC oh Yeah EDC that Used to be in Los Angeles""Did it I

thought that was in Vegas""Yeah I used to Go There""Learn Something New

Every Day""I'm a Very Principled Principled Man some people just What's the

Dealio Here I'm Just Targeted For Having Any Principles Here it almost seems

like""I'm Sorry You feel that way that's Not what we are going for""You Know

what I Just Have to be Making Money And be Working with People that I want to

Work With that's why I bought Tickets I Plan to Work With You Guys And Be on

the Team""What kind of, You want to do Television what do you want to do with
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 55 of 100 Page ID #:55



her?" "Television Yeah Television is Great All the Above Whatever All the Above

Any And All the Above As Many Ways As We Can the More the Better"

"Something in Mind I can Pass Along""Well a Reality Show is A Good One Right

there We Should Do that""What would it be a Reality About?""Everything

Backstage, Performances Just Anything""About Show Life?""Anything We

Want We Are Just Going to Make Her Look As Good As We Can As Much As We

Can A Much Bigger Star""We Can do Better, there Are so Many Ways, I Have so

Many Good Ideas.. Always Room For Improvement And More Money""Yeah I'm

Always Interested in Interesting Ideas" "I write Music I Perform Music I Do All

the Above Any And All the Above""Film What Kind of Film Anything She Wants

Just Not porn""Not that for Sure""Did that already happen`?""what" Plaintiff did

see a few semi nudes online however they were likely fake and Plaintiff was

Ioking "was there already a few pornos made?""No no no no no""oh okay

alright" "but there's been a few""Yeah either way I wouldn't be surprised"

"Movies have you Seen those?""What kind of Movies""She's Done Cameos

have you seen those?""Oh Yeah I've Seen her Cameos TV Performances Pretty

Good""You have Tips?""Not too bad but Marvel isn't working with Her And

She's Not Working As a Big Actress""She Gunna be a Superhero What

Superhero?""Well I Said this Blows Hollywood out of The Water I Mean there's

so Much She's Making So Much More Money the Audience the Audience the
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 56 of 100 Page ID #:56



                                                                Look Like a Joke
Audience the Fans the Money I Mean this Makes Hollywood
                                                                     Stadium: "I'm
Anyways She's the Best She's Great" Singing as we Walk Past the
                                                                      Me She's
Not going to talk Her into Letting Me Back in there or Mentioning
                                                                World and it's terrible
Supposed to object but she's not objecting what can I say the
                                                              And this
ways the World is Insane""We Could have just met for a Second
                                                                   e but I just Need a
Wouldn't be awkward And if it Was Awkward I Would just Leav
                                                                       you guys didn't
Picture With her And Meet her for a Second So I think the fact that
                                                                   Take a Picture
treat me like a TV Host and be like here Meet Her real fast And
                                                                   it's Right Across
With on Video Whatever" Camera shuts off New Clip: "I think
                                                                  alk the Grass is a
the Street Right Here I think We Found it I'll Stay on the Sidew
                                                                     "I Got My Rain
little wet well it rained it stopped raining it rained a little more"
                                                             lly        Really Like
Proof Boots On""Okay You got Nice Kicks I Like those I Actua
                                                                   of Her best outfits
that Jacket too""Yeah this is Versace her best uh I think Some
                                                                   Best Celebrities on
 Are Versace Probably the Best One""Yeah 1 know We Are the
                                                                Info""Yeah Okay I
 Earth So What's happening here""Well I Got Your Contact
                                                                what is this" "I
 Don't Know What to Say is this just like a business decision
                                                                to Explain this So
 Dunno""We Don't know what's responsible for this or How
                                                                   Tube See My
 Yeah Google Me Instagram""I Will I Got All Your Info""You
                                                              Later this is
 IMDB The Movies I've Been in""I'm Looking it All Up""See You
                                                                 for a Picture And to
 Ridiculous""Drive Safe Man" Call Me if I Can Come Back
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 57 of 100 Page ID #:57



Meet Her And You Keep the Money for the Tickets And there is No Problem but

this is Not okay I Paid $2,200" "I'll relay the Messages""And I Didn't do

Anything Wrong At All You guys Said I didn't do anything wrong"(Transcription

may not be 100% accurate see Video in Exhibits or online there was additional

dialogue that was not on video the camera shut off once or twice Plaintiff also

intentionally restarted video once or twice)


Plaintiff couldn't even think clearly after they asked to see his tickets an insisted

Plaintiff go back stage to talk it appeared there was a slim chance Plaintiff was

going to be able to meet Taylor that day. Plaintiff initially was a little concerned he

would be Raped or assaulted or something Plaintiff Feared for his safety. Plaintiff

told them Taylor Swift is the only one Plaintiff wants to work with and they

should Film a Reality TV Show together Plaintiff told them Plaintiff is an Award-

Winning Film Director and they asked if Plaintiff had "any scripts in the works?'

Plaintiff said he can "script a show anytime". Plaintiff said the problem was that

they weren't treating Plaintiff like a TV Host and inviting Plaintiff to briefly meet

Taylor before the Performance and that Plaintiff has been to other concerts and

was invited backstage to get pictures and video with Celebrity Performers Dua

Lipa's Producer Gave Plaintiff his Number and Plaintiff met Celebrities Claire and

Ellie Rosinkranz on Stage getting Video and Pictures with them Plaintiff also met
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 58 of 100 Page ID #:58



                                           got pict      ures with him. On Video
Country music star Zack Bryan on Video and
                                                 ter and refund Plaintiff for his
they stated they would follow Plaintiff on Twit
                                                    video then later refused to refund
Purchased tickets and took plaintiffs number on
                                                   Plaintiff at the Eras Tour in
Plaintiff after releasing the 41 Minute Video of
                                           her emp   loyees were incompetent or
Nashville or after Plaintiff alleged maybe
                                               in Nashville and left her a message
maybe it was after Plaintiff called a lawyer
                                               Plaintiff posted a recording of the
asking her if she wanted to sue the stadium
                                             . Plaintiffs Instagram with
message he left for the attorney on Instagram
                                          ost 1700 Video        Posts the Eighth
approximately 1 Million Followers and alm
                                             ntif    f was detained due to bad media
 Wonder of the world was canceled while Plai
                                              was obviously the best record of
 coverage or U.S. Government intimidation. It
                                                Nashville and evidence in this case for
 everything before and after the eras Tour in
                                                 nst Plaintiffs malicious prosecution
 this lawsuit and is exonerating evidence agai
                                             Plaintiff had Not Sent those
 which was dismissed likely they figured out
                                              t be     restored. Plaintiff spent
 Messages. The Instagram is Priceless and mus
                                                tent and commenting on other's Media
 countless hours publishing irreplaceable con
                                                   Helps Plaintiff gain support from for
 which drives traffic to Plaintiffs Account and
                                              works And Production Companies
 this Marriage Proposal And Contracts with Net
                                                  eles. According to the police reports
 so Plaintiff Can Meet With Taylor in Los Ang
                                                  that Plaintiff had sent Instagram
  one of her employees made a report alleging
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 59 of 100 Page ID #:59



Messages he did not send and that Plaintiff had been placed on a list banning him

from entry to the Concert the day of the Show however on Video her employees

stated it was the Nissan Stadium in Nashville the video is on Plaintiff's second

YouTube Channel @MitchTaebelReality and on Facebook. Plaintiff was admitted

to the Venue without issue with the tickets he purchased from the only seller he

attempted to purchase the tickets from despite allegedly being banned from. the

Eras Tour. Plaintiff also called News Stations Foxl l Los Angeles, Foxl7 News

Nashville, CAA and 13 Management, Messaged Her on Instagram that morning

letting everyone know Plaintiff had bought tickets to the Show and posted a video

about it Plaintiff Let Everyone know he was going that morning many hours

before the show and Plaintiff was able to access the event without issue contrary

to the claims made in the false police report by one of her employees. The

Telephone call to Fox17 News is on the Disk Exhibit 8 and the messages Plaintiff

left for CAA and 13 Management are in Plaintiffs 12 HR Documentary @ 8Hr

33Min. If Taylor And Mitch Haven't met because she is insecure, emotionally

incapable or incapable otherwise everyone including below average IQ Joe Biden

the useless Public Defender are going to look like complete worthless idiots

spineless worthless human bacteria worthless idiots because Taylor Wants very

badly to Marry Mitch and is not happy and sings about killing herself by "jumping

off a very tall something" in one of her songs. Taylor opened the Reputation Tour
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 60 of 100 Page ID #:60




                                                                          killer first
with her song Are You Ready for it Lyrics begin with:"Knew he was a
                                                                               g it
time that I saw him" obviously if anyone respects anyone doing any killin
                                                                          are the
would obviously be by lawful prosecution or Self-Defense Only which
                                                                                ding
most effective crime deterrents. Women Love this Marriage Proposal inclu

Mackenzie Marsh Swift who said she is Taylor's Cousin Stating "So Bold of You"
                                                                            its.
"I Love it!" Pictures of the Instagram Messages are in the Media Disc Exhib
                                                                              win
Plaintiff is very impatient he has never been the unattractive guy who had to
                                                                               than he
over a woman with persistence. Plaintiff doesn't want to have to say more
                                                                              y Kimmel
should have to. Taylor Swift Asked for Help on TV Speaking with Jimm
                                                                         if they were
she described bad spirits telling her it was time to change sounded as
                                                                           ally wants
killing her soul she didn't like it all and stated she wanted to metaphoric
                                                                              n. Taylor
 to "stay in the forest" as in live a happy healthy life and be a good perso
                                                                         Her Soul
 Has Never been Happy without Her Soul Mate Plaintiff is Obviously
                                                                               There
 Mate the Zoom tele web appearance on the Show are in Plaintiff's Film.
                                                                         ded to harass
 were other allegations made that were not threats or in any way inten
                                                                           d the
 and were taken out of context or completely fraudulent. Plaintiff neede
                                                                    ns. Plaintiff
 Money returned to attend the concert in Chicago and for other reaso
                                                                        d Run to each
 stated in His Film that Taylor And Mitch Are Soul Mates and Shoul
                                                                       iff a Very
 other and at the Very Least Plaintiff Needs Her to Video Call Plaint
                                                                    ently to some
 Sensible and Reasonable request from a TV Host however appar
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 61 of 100 Page ID #:61



these days it's too much to ask a girl to call a man if they haven't already met in

person although women call Plaintiff all the time and always have and most

people now meet on dating apps so Calling a TV Host Model and Actor definitely

shouldn't be too much to ask and wouldn't be if that Taylor didn't talk about being

scared of being framed on TV. Dr Taylor Swift and Mr Mitch Taebel are clearly

very gifted creative artists very intelligent and capable of making a living and

getting everything they need and want in life lawfully. Plaintiff had stated that if

anyone had threatened Taylor Swift preventing her from meeting with Plaintiff a

Presidential candidate they could obviously be charged for Treason or other crimes

before his Instagram was canceled after kidnapping just as most of Plaintiffs Best

YouTube Productions were taken down without his consent after the incident in

2018. Obviously Social Media is Character, Circumstantial and often especially in

this case exonerating evidence and anyone would presume a Social Media

Company could be Sued for Lots of Money for taken down Social media that is in

any way involved in a civil or criminal case. It's obviously not illegal to inform

people of the law to stop or prevent a crime from being committed. Plaintiff

published a telephone recording with the Indiana Governor's office On Instagram

and Facebook on Feb 7t'' 7 Min 43 Sec long. Plaintiff also Speaks at The Long

Beach Town Council Meetings stated on video on Public Record that Plaintiff has

case law that shows victims of unlawful detainment can be awarded over $1
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 62 of 100 Page ID #:62




million for every day they were detained Plaintiff asked the Town Citizens and

Town Council to Support his lawsuits and invited everyone to follow Plaintiff on

Social Media Video of Plaintiffs Public Statement at the last Town Meeting can be

found on his TikTok @theguardian464 his Instagram @vigilantihero and his

second YouTube Channel @MitchTaebelReality See Also TikTok @MitchTaebel

and Facebook @MitchTaebel. Plaintiff was a Prom King Nominee like will Ferrell

and Plaintiffs mother was a Prom queen in a school with thousands of people like

Ryan Seacrest. Plaintiff Was aTwo-Time State Flag Football Champion in the

State of Arizona before he Graduated from a Private High School in West Sedona

which Plaintiff attended with Katie Wick the daughter of the owner of the school

who has pictures with Presidential Candidate Rick Santorum on Facebook and

defended Plaintiff with the Media after Plaintiff was kidnapped Jan 24th 2018

while attending ASU For Film And Media Production for a semester to make a
                                                                                   ra
Film with the University Students Plaintiff Expected to be Director with a pletho

of College Students eagerly ready to Assist His Production About The Civil Rights

Act. Flag Football is Superior in Many ways with great Athleticism to tackle

Football which is obviously associated with severe brain damage. Plaintiff would

Like to remake Mississippi Burning with Gene Hackman Released in 1988 based
                                                                             an
on a True story where three Civil Rights Activists who were Murdered after
                                                                               posse
illegal traffic Stop And The U.S. Government Employed the Navy under the
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 63 of 100 Page ID #:63



comitatus Act to Aid Federal Law Enforcement in Investigating and arresting the

State Law Enforcement responsible for the murders. Plaintiff is also Very

Interested in Producing an Entirely New Version of Heroes Enforcing the Civil

Rights Act could be arresting judges, prosecutors and police for misdemeanors or

whatever crimes are found on Public State Court Records Plaintiff Would Like to

Make the Film With Taylor Swift And Marvel. Plaintiff also has considered

Making a Film or TV Series About Directors Working in Show Biz. Plaintiff's

twelve-Hour Film And All of His Social Media Could also be Modified and Edited

into a Spectacular Reality TV Series. Plaintiffs Award Winning Political Film

LOGIC was Filmed in Downtown. Los Angeles where Plaintiff as a TV Host And

Journalist interviewed Presidential Protesters. Plaintiff's Award-Winning Film

Best of Fall was a Fishing Film Mostly Fly Fishing And one of the Best Ever

Made And Makes The River Runs through it look Like a Joke. ASU has many

notable alumni including Jimmy Kimmel and David Spade See Wikipedia for

Notable Alumni. Plaintiff was Kidnapped after a 60 mile mostly slow speed police

pursuit that escalated after an officer assaulted Plaintiff in his vehicle during the

peaceful civil protest and an accident occurred that would not have otherwise

happened if it was not for the use of excessive force and numerous policy

violations by law enforcement as the Media brought attention to MaryEllen

Resendez questioned a public information officer who made a Press Statement as
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 64 of 100 Page ID #:64



to whether the pursuit should have been "suspended before that time" of the

accident and Dave Biscobing from ABC15 were two Journalists who defended

Plaintiff criticizing law enforcement for their policy violations defending the

Constitution, Justice and the safety of every citizen in America they deserve a

Nobel Peace Prize. After Plaintiff made a Press Statement better than Anyone in

Government lasting almost 15 Minutes Crystal Cruz at KCAL CBS2 Los Angeles

went to Plaintiffs Apartment Building in Downtown Los Angeles and stated

Plaintiff was an "Actor and Model who Lives Here in Los Angeles". Lauren

Reimer from CBSS PHX stated the kidnapping of Mr Mitch Taebel was a "High-

Profile arrest". Plaintiff Aced Martial Arts and Studied Self-Defense College and

Could have been a pro Boxer who now Make $275 Million per Fight Plaintiff

boxed Pro Boxers in College and Won However Plaintiff wanted a much more

civilized intellectual Profession Which is why Plaintiff moved to Los Angeles to

work in Film and Television and Plaintiff knew he was President. And Plaintiff

would much prefer having security that would shoot anyone who would ever try to

assault him. A Number of U.S. Civil Rights Division Complaints were sent, See

Also the Docket History for that case on the Az Website. Metro Monitor ran a

search for us for free and there were 64 News Broadcasts Across the Country in

their search results however none of the Media Broadcasts Uploaded to YouTube

Were in those search results meaning there had been astronomically more
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 65 of 100 Page ID #:65

Broadcasts that covered the story it was one of the Biggest Police Pursuits ofAll

Time. Jeff Mayes The Chief Editor at the Michigan City Herold Dispatch

published Plaintiffs Presidential Campaign in the Newspaper Nov 8th -021. Drew

Tallackson Editor at the Long Beach Beacher also published Plaintiffs Book

Signing in the Local Newspaper. At Plaintiffs Bonk Signing Plaintiff met Donna

Kavanagh a TV Host at WHIT PBS And Radio Host at Harbor Country Radio

Plaintiff is row her TV Co-Host there are currently three episodes of the TV Show

What Gives? That Aires on Comcast And _AT&T and three-Hour Long Radio Talk

Shows Plaintiff has done with Harbor Country Radio on Plaintiffs YouTube

Channels. Plaintiff also knows Brooke Wojdynski who is Semester at Sea Alumni

and Has Pictures With Joe Biden Plaintiff and Ms Wojdynski are friends on

Facebook and Plaintiff often Sends Her Media and Many Messages which

Plaintiff and/or Assistants Copy and Paste and Share with all Contacts Plaintiff has

also sent Her Copies of a Number of Complaints Plaintiff has been filing in Court.

Plaintiff went to school with Jessica Mahoney "Jesse Money" who is Eddy

Money's Daughter and has pictures with a number of Celebrities including Owen

Wilson. Plaintiff also went to school with Sam Scott who works as a Production

manager at NBC Universal. Plaintiffs Good Friend if I had a Younger brother

Keegan Ray Selby Co-Founder of Fourth Revolution Capitol Crypto Currency

exchange and Has Pictures with Will Ferrell and California Uovernor Arnold
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 66 of 100 Page ID #:66
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 67 of 100 Page ID #:67




Schwarzenegger. Plaintiff Dated on Semester at Sea Tara Green Jackson who

worked at Extra TV and met Many Celebrities Messages included in Exhibits.

Plaintiff also attended La Lumiere High School a very prestigious College Prep

Catholic Private School attended by Chief Judge Roberts of The Supreme Court of

The United States Jim Gaffigan Chris Farley and many more Celebrities and

Public Figures Plaintiff wore a blazer and tie every day notable alumni are listed

on Wikipedia. plaintiff Dated two Prom Queens in High School that were posting

on Plaintiffs Facebook wall over five years later Plaintiff Dated a very attractive

playboy model named Sarah Summers Google "Sarah Summers Playboy" you can

buy Posters of her online. Summers also has Pictures with Other Celebrities

Including Hugh Hefner. Based on her photo shoots she is attractive as any woman

in the Entertainment industry some might say more and she wanted a baby with

Mr Mitch Taebel. Taylor is a Brainiac like Plaintiff who is attracted to her for her

personality and brain she may not know everything about politics because that was

never a priority for her she is a creative genius like Plaintiff who sees and

understands many things she doesn't Plaintiff will be the good Taylor Swift. Taylor

is smart enough to appreciate a Genius which intelligent women find more

attractive than anything especially for a husband. The only reason Plaintiff wasn't

more successful in entertainment is because the Entertainment Industry is only

permitted to give so much and Plaintiff and Taylor have always already had a lot
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 68 of 100 Page ID #:68




going for them apparently. Plaintiff dated two girls on Semester at Sea that were

posting on his Social Media years later. Plaintiff Met a girl on the Film Set of New

Year's Eve in times square working on set for two days and with Ryan Seacrest,

Ashton Kutcher and Michael Bloomberg Billionaire Mayor of Nyc and

Presidential Candidate and Plaintiff Lived with the girl he met on that Movie Set

on the Upper East Side of Manhattan and dated her for about six years she

recently said she Loves Mr Mitch Taebel More than She has ever Loved Any Man.

She Wanted a baby with Plaintiff who apologized to her for not giving her a baby

on a recorded telephone call which is in The Films on YouTube. As Much as

Plaintiff liked the women he Dated Plaintiff never wanted to get Married. Any of

Plaintiffs girlfriends would have Married him. The Only Woman Plaintiff has ever

wanted to Marry was Taylor Swift. Plaintiff doesn't like to fight but obviously will

fight for his life and needs Taylor Swift to survive. While Plaintiff has stated that

in a Presidential Election Plaintiff would expect to be able to reach agreeable

terms with either Party for Nomination Plaintiff has generally sided with the

Republicans (Although the democrats better Appose "qualified immunity" which

in plaintiffs Professional Opinion is a National Security threat and a threat to

everyone's Constitutional Rights Likely all these complaints will be dismissed for

one reason or another giving Plaintiff the run around without serving complaints

or even requiring the respondents to respond although in the past Attorneys would
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 69 of 100 Page ID #:69




compete for cases like this especially with media Coverage at Least California

they do Anyhow Plaintiff on more issues however almost all the girls Plaintiff has

dated have favored the Democrats and when there may be issues they would

disagree on Plaintiff usually avoids talking about those issues entirely because

Plaintiff doesn't like to argue with his girlfriends because Plaintiff enjoys having a

healthy peaceful relationship infinitely more than he cares about political issues or

anything they may disagree upon. Ronald Reagan and Trump both considered

themselves Democrats Before Supporting the Republican Party which is generally

considered the lesser of two evils for a number of reasons one being that the

democrats often raise taxes on even the middle and lower class who can't even pay

their bills. Plaintiffs Best Friend in High School and after has always been our

Prom King and Quarterback David A. Rich a jew who Now works for Chartwell

Law and attended the Thomas Jefferson School of Law in San Diego. Mr Rich two

years older and Plaintiff went to Park City, UT for Spring Break had sex with girls

and went skiing And Snowboarding when Rich was in College at NAU. Plaintiff

was still in High School and the Most Popular young man there just as he was at

La Lumiere and on Semester at Sea. In High School the faculty said they thought

Plaintiff should be Prom King. Plaintiff could have been Prum King if he really

wanted he just didn't want to be overzealous about being the most popular guy in

school. Plaintiff has always got the best-looking girls Plaintiff has dated
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 70 of 100 Page ID #:70




Celebrities Singers Models Actresses and Dancers in South Florida and Los

Angeles. Plaintiff Opted to live on Campus at La Lumiere freshman year of high

school after about a month because he enjoyed living with wealthy Ambitious

High School Students his own age Plaintiff also chose to Live with Students in

Sedona Az by Choice because it was much more fun than living with his parents

and it helped Plaintiff mature and become an actor and socially advanced. For

many people moving out of their parents' house to attend college and live with

scholars their own age from all over the world is the greatest thing they will ever

do in life to develop social skills that will help them professionally the rest of their

lives Plaintiff was already doing this all through high school then when he moved

out of state to attend Colorado Mountain College he lived in co-ed dorms

freshman year as required by many colleges then Again when Plaintiff traveled

around the World on Semester At Sea through University of Virginia with over

almost 700 Scholars from around the World Obviously only the Coolest Scholars

in College Study on Semester at Sea. Plaintiff is a TV Host at WHIT PBS and a

TV Host is one of the most respectable positions on Earth as not many people are

smart or confident enough to speak on TV however like many nonprofits PBS

lacks sufficient funding so Plaintiffs TV Co-Host and Producer Donna Kavanagh

declined any payment from PBS which is why Plaintiff lacks the funding to pay

the filing fee Plaintiff requests this court appoint U.S. Attorneys to Assist this
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 71 of 100 Page ID #:71




Complaint in the Interest of Justice. Most of the Most Successful Entertainers had

little or no Money before making Hundreds of Millions Lisa Brennan-Jobs who is

Now a Billionaire was working as a Waitress, cleaning homes and on Welfare

before She Married Steve Jobs. Plaintiff's Father Before Making Millions Married

a Woman whose family had hundreds of Millions and owned Banks in Illinois.

Plaintiff has always Been the Leader in His Family. Plaintiff is also Much Funnier

More Confident And Smarter than His Parents. Semester At Sea Now has More

than 73,000 Alumni and Plaintiff in many ways working in Entertainment has

probably already been as successful than any of them obviously the best of the

best Move to Los Angeles to Try Working in Film And Television at some point if

they think they have it. Taylor Swift recently posted a Picture of her with Katy

Perry with whom she had a feud Now they are friends again. Plaintiff is not

genuinely in Suing Dr Taylor Swift And Very Much Wants to Marry Her.

Plaintiff's Priority has never been Money and Plaintiff knows Taylor Swift's

Priority is not making more money even if she thought it was. Artist's Priority is

generally their work and the money comes naturally as they compete against

themselves and everything they have already produced. Plaintiff thinks the

obvious reason Plaintiff and Taylor Swift have not 1VIet is due to Corporate

Monopolization and intimidation which Dr Taylor Swift has complained about on

TV and Joe Biden's failure to do anything about it and/or direct threats or
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 72 of 100 Page ID #:72




intimidation by the executive branch under this administration and/or at the very

very least his failure to utilize the U.S. Civil Rights Division to Defend The

Constitution and enforce the law or even acknowledge any wrong doing by Public

Servants who have clearly violated the Law And Bad Press Coverage leading to

Mass Confusion. Obviously a number of State Public Servants could have been

charged for Treason, kidnapping, conspiracy, torture, malicious prosecution and a

number of violations of Supreme Court of The United States Rulings which is a

criminal offense under the Civil Rights Act etc including dismissal of valid

complaints If they had even been charged for misdemeanors to simply

acknowledge wrong doing Plaintiff would Most Likely had Met with His Soul

Mate Taylor Swift by Now and Plaintiff would have got much better Media

Coverage and Would have been offered numerous contracts in the Entertainment

Industry by Now and Already Living in California or Sydney where Plaintiff a

Very Talented and Hard Working Man Should be. Plaintiff has a Very Tasteful

sense of Humor most people will agree that most of the comedy these days is

diabolical to some extent. The "Fairness Doctrine" which legally requires the

Media to Cover both sides of Public issues Can Not Constihitionally be

invalidated by the FCC. And the "Equal Time Rule" Should Have Applied All this

Time Plaintiff Still Very Much Deserves to Make a Press Statement and the Media

is Legally Obligated to Give Plaintiff An Opportunity to Make a Press Statement.
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 73 of 100 Page ID #:73




No Human ever wants to see a Prom king Nominee or TV personality in jail ever.

The Entertainment industry is the most competitive profession on earth and

obviously people who think they have what it takes give working in Film and

Television shot in College or after. No Celebrity will ever live in the state of

Indiana or any state that does not hold a Press conference if a Celebrity is arrested

or announces candidacy for any political office. Plaintiff Obviously Would Never

Believe that Taylor Wouldn't Want to Meet With Plaintiff Ryan Seacrest Gave

Plaintiff the Impression Plaintiff is Obviously the Man with the Plan and would

Agree with whatever Plaintiff says as did many other Celebrities and Anderson

Cooper. Taylor, I Love You More Than Any Man Has Ever Loved a Woman We

Must Get Married. President of The United States is just a job in Public Service

I've always Expected I was Supposed to do Eventually We Can Talk About it Next

Election or at any time in the Future The Priority Here is Clearly Getting Married

You Taylor Are the Priority And Unless We Are Above the White House And

Something is Wrong with the Oval Office and Repulsive for Some Reason I am

Unaware of then I Can't Imagine You And I Won't be Interested in a Term or Two

at Some Point. Plaintiff has Asked Taylor Swift or Her Attorneys to Give Plaintiff

a Call or Schedule a Hearing Immediately. Sean Hannity offered Plaintiff a part

time job as a remote TV Host and a Loan of $75k Approximately After Plaintiff

Sent Him Pictures of The Two Prom Queens in High School Posting on Plaintiffs
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 74 of 100 Page ID #:74




 FB Wall over Five Years Later or at least someone pretending to be Sean Hannity.

 After Plaintiffs arrest They Filed a Motion for a Hearing and sent multiple Copies

 to Plaintiff and to Plaintiffs Home Clearly they Didn't Expect Plaintiff to Ever be

detained A Court appointed two doctors to evaluate Plaintiff who said Plaintiff was

competent and one of them the younger smarter doctor the only one who looked at

Plaintiffs Media in Depth Seemed to think Taylor and Plaintiff were likely Getting

Married. Plaintiff Aced abnormal Psychology and is Smarter than any Doctor a

Good Psychologist is a Philosopher and Plaintiff is The Greatest Philosopher on

Earth Plaintiff is Dalai Lama Smart and Plaintiff is very confident Taylor will be

very happy with Plaintiff whether they get married immediately or work together

first. Plaintiff rarely uses sarcasm However When Plaintiff Said He Would have to

Convince Women Everywhere to Want to Marry Him Plaintiff was being a little

Sarcastic Plaintiff Very Much Hopes that Dr Taylor Swift is Very Attracted to Him

and More So than Any Woman on Earth And they Get Married Very Very Soon.

Plaintiff is Certain that Taylor And Mitch Are Obvious Soul Mates And Could

Live on an Island Together Like Blue Lagoon And be Very Very Happy together

and Plaintiff Never felt that way about any of the girls Plaintiff Dated who all

were Very Happy Dating Plaintiff so these Two Obviously Need to Meet

Immediately. Taylor Swift was born December 13`'' 1989 and Likes Numerology

and the Number 13 Plaintiff was Born September 1 S` 1986 and is First Number
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 75 of 100 Page ID #:75




One The One For Taylor Swift. Dr Taylor Swift and Mr Mitch Taebel Need a

Camera Crew to Follow them wherever they go and to Film a Reality TV Series or

 Series of Documentaries. Plaintiff is Much Smarter than Dr Taylor Swift Maybe a

Billion Times Smarter And Plaintiff Likes Her Much these two are Definitely

 Getting Married! Taylor's Niche is Smart and Plaintiff is Very Very Smart and is

 what Many of Her Fans Like Most about Her. Plaintiff is Much Smarter than

 Everyone Taylor May or May Not have a Keen sense of What is Happening here it

 appears unlikely What is clear is that She is Obviously Plaintiffs Soul Mate 34

 Unmarried And is Clearly Not Yet Happy and all Women Like Men a Lot Smarter

 than they are. Plaintiff spoke with one of Taylor's lawyers Olivia Arboneaux Who

 Was Very Nice and Stated She Would Have to Figure out What was Going on and

 Get Back to Plaintiff Plaintiff Got the Impression that they Know Dr Taylor Swift

 and Mr Mitch Taebel Are Obvious Soul-Mates however apparently have been

 Unable to Assist Dr Taylor Swift and Mr Mitch Taebel in meeting or schedule a

 Conference call. Plaintiff spoke briefly with Taylor's Father Scott and Plaintiff

 Knows they Will get along Great Plaintiff used to text him and occasionally leave

 him Messages which Plaintiff would Usually Post on Social Media. Taylor's father

 reminds Plaintiff of the Investors and Stock Brokers Plaintiff Grew up around As

 Cool of People as anyone in the Entertainment Industry! Plaintiff Likes Very

 Much Taylor's Mother Andrea who Loves Taylor As Much As Anyone her dog
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 76 of 100 Page ID #:76


                                                                                              Spoke
                        viously makes Her Our               New Best Friend! Plaintiff
and had cancer which ob
                                     originally denied being Re               lated to Taylor then
to a Cody   Swift over the Phone who
                                                     nt             iff Thinks it would be
                            ylor's Phone Number Plai
later Asked for $500 For Ta
                                                                                         ted to
                          f Like That He's Not Sa           ying Stuff Like if He is Rela
better if He Not Say Stuf
                                           la in  t Ag  ai  ns  t Bi  de n  Se e Boumediene V. George
                                 a Comp
Taylor! Plaintiff has Filed
                                                                                                      y
                                   Gi ve  n  th e  Ci rc  um  st  an ce s It is Absolutely Necessar
Bush, 553 U.S. 723(2008)
                                                                                                  turned
                          Ta yl  or  Sw if t An   d  Pl  ai nt iff whose Property Wasn't Re
And Should Help Dr
                                                                                              ebel v
                    if f Fi le d An   Am   en  de  d  Co   mplaint March 13th, See Ta
 Until After Plaint
                                                                                                        e
                                   on d.   Pl ai nt if  f Sp  ok  e  Wi th Taylor's Cousin Mackenzi
 Biden 2:24-cv-66 in Hamm
                                               ow    Bo   ld  of   Yo u.  I Lo  ve it! Yes I am Her Cousin
                                 Mitch —H
 Swift Who Stated "Wow
                                      Ye  ar s Ed    Sh  ee  ra n  Me  ss aged Plaintiff When Taylor
                                 ny
 :)". Taylor's Friend of Ma
                                                                                                     ew We
                                 Pr ob ab  ly  sa  w   he r  da  nc ing with The Latinos and Kn
  was at the Grammys He
                                                                                                tch.
                        ie d Th   at  Wa  s  Mi tc   h  Ev  er  ybody that is Definitely Mi
  Were Getting Marr
                                        ls a Le  ss  on  s an  d  Hi  p Ho   p at Millennium Dance in
                                  d  Sa
  Plaintiff took Bachata an
                                                                                                    and
                              fo  rnia   Wh er  e   Br it ta  ny  Sp ears, The Backstreet boys
  North Hollywood Cali
                                           ti st s Ha   ve   Da  nc  ed . An   In stagram Account Named
                                    ul Ar
   Many other Very Successf
                                                                                                      d
                                 th ey   we re  ow   ne   d  by   Ta ylor and When Plaintiff Aske
   1 3 Management Stated
                                                op  os al   Th  ey   St at ed "H ap py Wedding" See USB
                                     iage Pr
   What thought of The Marr
                                                                                                          t
                                       nt ly  Em  ai  le  d  Ca  ll ie Hi  nson an Attorney for Dr Swif
                                    ce
   Flash Drives. Plaintiff Re
                               ai nt if f Ba ck   co  nf  ir mi  ng  She Has Received a Link to
    and Callie Emailed Pl
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 77 of 100 Page ID #:77




Plaintiffs Last TV Appearance And a Copy of The Amended Complaint Filed in

Nashville However Plaintiff has Not Been Able to Keep Anyone on The Phone or

have any Meaningful Discussion There is no extent to the insanity that could

remain in people's Minds When People refuse to Talk Plaintiff Thinks He is being

Very Reasonable. No Civilized rational Human Being is overly Impressed by

anyone who can catch a ball Has Everyone Seen What a Monkey or Border Collie

Can do. Is This a Parasite Retard Apocalypse We Certainly Hope Not. Taylor I

Have To File All This on Public Record because Taylor has completely obvious

lost her mind completely And Clearly Needs Assistance from Humans With

Brains! Plaintiff Studied Psychology on Semester at Sea And through

 College And is Everything And More Taylor Ever Dreamed of Plaintiff So All

The Smart People Will Know You Have Either Completely Lost Your Mind or are

Unable to Video Call or Meet With Me And Obviously Need Assistance from

Humans With Brains. Plaintiff Hopes this Helps!!!



      Attached Hereto As Exhibit 1)Plaintiffs Actor's Access Acting Resume and

in Google Also Missing Many Credits As Included Pay Stubs Show, Exhibit 2)

Plaintiffs Certified World Record which is also public on the IGFA Website,

Exhibit 3) Plaintiffs Certified Junior IGFA World Record When Plaintiff Was 13

 Years ofAge,4)Three Notices of Manual Filings For Similar USB Flash Drives
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 78 of 100 Page ID #:78




With All of Plaintiffs Greatest Films in Other U.S. District Courts, 5)52

Documents Proving Plaintiff Very Much Likes to Work in The Entertainment Film

and Television And The Entertainment and Television Industry Very Much Likes

to Work With Plaintiff Here Are Just a Few Life Happens BFF &Baby With Kate

Bosworth, Rachel Bilson, And Krysten Ritter, For The Love of Money With Inbar

Lavi, Delphine Chanaec, Meridith Scott And Leilani Sarelle, The Ringer With

Sarah Michelle Gellar, Andrea Roth And Jaime Murray, The Good Wife with

Julianna Margulies, Christine Baranski, Archie Panjabi And Makenzie Vega, Burn

Notice with Gabriella Anwar, Extra TV with Mario Lopez, Renee Bargh, Terri

Seymour, Jennifer Lopez And Director Olivia Hoopman, NYE With Michelle

Pfeiffer, Alyssa Milano, Jessica Biel, Katherine Heigl, Sofia Vergara, Jackie

Seiden, Halle Berry, Yeardley Smith, Drena De Niro, Juliette Angelo, Christine

Lakin, Sandra Taylor, Shea Curry, Hillary Swank, Ryan Seacrest, Ashton Kutcher,

Wedil David, Seth Meyers, Nicole Dupre Sobchack, Anna Kulinova, Carla

Gugino, Lea Michele, Abigail Breslin, Sarah Jessica Parker, Mara Davi,.Tuba

Randall, Katherine McNamara, Beth Kennedy, Kendra Jain, Pan Am With I~elli

Garner, Annabelle Wallis Who Looked at Mr Mitch Taebel Like he was a god,

Christina Ricci, Erin Cummings And Margo Robbie Many More Great

Entertainers TV And Film Productions Plaintiff Was a Part of, 6)is the Docket

History for Case 46D01-2305-FS-000771, Exhibit 7) Docket History for Malicious
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 79 of 100 Page ID #:79




Prosecution brought several days later after Bad Media Coverage of Kidnapping

46D04-2306-F6-000840, Exhibit 8)The Taylor Swift Fraudulent No Probable

Cause Affidavit for the Charges Dismissed, Exhibit 9)A Complaint Filed While

Plaintiff Was Unlawfully Detained See Mitch Taebel v Taylor Swift 2:23-cv-258

Filed July 24`" 2023, The Motion Filed by Taylor Swift and Her Attorneys

requesting a Video Zoom Call with Plaintiff and Plaintiffs attorney Refuses to

Arrange An Attorney Proving Conspiracy Against Plaintiffs Constitutional Rights,

Exhibit 10)Plaintiffs College And H.S. Transcripts, Exhibit 11) SEE Manual

Filings Filed With This Complaint Including A 128 GB SanDisk USB 3.0 Flash

Drive With Lots of Media and Exonerating Evidence And Character Evidence

According to SanDisk Customer Service Should Last a Century or More Including

Five of the Greatest Romance Comedy Films Ever Made in Full HD High Quality

Video Files Produced by Plaintiff Filmed with a Cannon 90D and an iPhonel l Pro

Max, A Full HD 1080p 75.1 GB Master File of The 1 l HR 59 MIN 13 SEC

Greatest Film Ever Made Titled Celebrities Mr Mitch Taebel and Dr Taylor Swift

Must Get Married Immediately!!!!, The 41 Min 27 Sec Video of Plaintiff at the

Eras Tour Speaking with Taylor's employees, And a Full HD l 080p Master File of

Plaintiffs Latest Production Another Greatest Film Ever Made a 1 Hr 38 Min 54

 Movie Titled Celebrities Mr Mitch Taebel and Dr Taylor Swift Are Obvious Soul-

 Mates!!!! Included Are Telephone Recordings With News Stations and Assistants
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 80 of 100 Page ID #:80




to Governor's Offices, Commercial Reels, Two Statements By Plaintiff At The

Monthly Long Beach Town Council Meetings And Ten Videos of Plaintiffs Stand-

Up Proving Plaintiff is the Greatest Speaker Actor and Comedian in The

Entertainment Industry.



Plaintiff Demands $ 100 Billion From Dr Taylor And Has Shown Clear and

Convincing Evidence of imminent threat of serious harm and irreparable injury

and Demands The U.S. Courts Order An Injunction Against Any Malicious State

Prosecution Stemming from The Unlawful Dr Taylor Libel Slander and Negligent

Proximate Kidnapping by Unlawful Arrest in Very Justified Constitutional

Interest.



Dated: March 22"d 2024




                                                        215 W.6`h St Suite 314
                                                         Los Angeles, CA 90014
                                                        (219) 346-0017
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 81 of 100 Page ID #:81




                        EXHIBIT 1
        Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 82 of 100 Page ID #:82
2/28/24, 8:35 PM                                        MITCH TAEBEL - Resume ~ Actors Access


                                                                                                          www.actorsaccess.cd~m
                                                                                                        Breakdown Services, Ltd.




    MITCH TAEBEL _SAG-AFTRA




Resume

  FILM

 "]. EDGAR"                              POLICE OFFICER                                DIR. CLINT EASTWOOD

 "MIB III"                                NEWS REPORTER                                DIR. BARRY SONNENFELD

 "NEW YEAR"S EVE"                         DETECTIVE                                    DIR. GARY MARSHALL

 "HISTORY OF L RON HUBBARD"               N AVAL OFFICER (PRINCIPAL)                   GOLDEN ERA PRODUCTIONS

 "SUGAR"                                  CLUB PATRON                                  DIR. ROTIMI RAINWATER

 "BFF &BABY"                              PARTY GOER                                   DIR. CAT COIRO

 "FOR THE LOVE OF MONEY"                  PARTY GOER                                   DIR. ELLIE KANNER

 "CONFESSIONS OF A SHOPOHALIC"            SHOPPER                                      DIR. PAUL JOHN HOGAN



  TELEVISION

                                         DEWAYNE BARRENTINE
 "SCORNED"                                                                             DISCOVERY ID
                                         (PRINCIPAL)

 "CELEBRITY CLOSE CALLS"                  OFFICER BETZ (PRINCIPAL)                     BIOGRAPHY CHANNEL

 "1000 WAYS TO DIE"                       EMT (PRINCIPAL)                              SPIKE TV/ALEX HARVEY

 "YOU'RE CUT OFF"                         COWBOY (DAY-PLAYER)                          VH1

 "AMERICA'S COURT"                        PLAINTIFF (DAY-PLAYER)                       ENTERTAINMENT STUDIOS

  "CSI: NY"                               STAND IN                                     CBS

 "BURN NOTICE"                            BEACH GOER                                    USA

  "MAS SABE EL DIABLO"                    OFFICE WORKER                                TELEMUNDO



  COMMERCIAL

                      com/one gape resume.cfm?custom link=taebel                                                               1/3
        Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 83 of 100 Page ID #:83
2/28/24, 8.35 PM                                  MITCH TAEBEL - Resume ~ Actors Access


 XOOM.COM                          XOOM USER (LEAD)                              DOO LEE/RPOV

  FANTASY FOOTBALL                 MOTORCYCLIST (PRINCIPAL)                     TALENT SOLUTIONS/ESPN

  FARMER BOYS RESTAURANT           FATHER (PRINCIPAL)                            LYON STUDIOS

  FRANCE Z N PROMO                 R UNNER (PRINCIPAL)                           FREDERIC GRIVOIS/PARADOXAL

  DC NATION                        AQUA MAN (PRINCIPAL)                          B2 STUDIOS

 PANASONIC                         H USBAND (PRINCIPAL)                          ZAZOU PRODUCTIONS

  N ASCAR                          DATING COUPLE                                 HSI PROD./FOX SPORTS

  HYUNDAI                          DRIVER                                        COOPERATE IMAGE



 INTERNET/INDUSTRIAL

 "INTERCLICK"                      HOST                                          INTERCLICK MARKETING

 "TENDON EASE"                     ATHLETE                                       SMB MARKETING GROUP

 "PANASONIC END CAP VIDEO"         SKYPE USER                                    CARBON PRODUCTIONS



 PRINT

  A NVIL SPORTSWEAR                 MODEL                                        SHANNON STAPLETON

  BODYMAKER JAPAN                   MODEL                                        YOSHI OHARA/MARS

  KILPLINGER MAGAZINE EDITORIAL     MODEL                                        ALLISON MICHAEL ORENSTEIN

  RINESCO                           MODEL                                        PAUL ARESU/SUNOVIAN

  FALL JACKETS LINE 2011            MODEL                                        ADAM METIN/ASTON LEATHER

 STOCK PHOTOSHOOT                   MODEL                                        JOSE/J!P STUDIOS

 STOCK SHOOT-LOVE                   MODEL                                        DREW MEYERS/CORGIS IMAGES



  TRAINING/EDUCATION

  SCENE STUDY                                                                    SAL LANDI

  IMPROV                                                                         CHRIS BERUBE

  COLD READING                                                                   J ENN CRATER

  SCENE STUDY                                                                    PAOLO CRATER

  SCENE STUDY                                                                    JAKE CARPENTER

  SCENE STUDY                                                                    BRUCE HICKEY

  ACTORS INTENSIVE                                                               KIRK BALTZ




      M ARTIAL ARTS-MUAY THAI,TAEKWANDO,HAPKIDO, BOXING DANCE-BALLROOM,SALSA,
      BACHATA,CLUB/FREESTYLE, LINE DANCE ACCENTS-AUSTRALIAN,SUTHERN, NEW YORK STUNTS-STAGE
      COMBAT,DRIVING




  Physical Characteristics /Measurements


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        Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 84 of 100 Page ID #:84
2/28!24, 8:35 PM                                        MITCH TAEBEL - Resume ~ Actors Access

  Height: 5'11"                           Weight: 170 Ibs                              Eyes: Green

  Hair Color: Blonde                      Hair Length: Short




     ACCENTS, GUNS, MARTIAL ARTS, PRECISION DRIVING, PRESIDENT, SINGING, STUNTS, Archery,
     Badminton, Baseball, Basketball, Billiards/Pool Player, Boating -Sail, Body Surfing, Bowling, Boxing,
     Canoeing, Combat -Stage, Cycling, Cycling -Mountain Biking, Diving, Equestrian -General, Fishing, Fly
     Fishing, Football, Frisbee, Golf, Hackey Sack, Handball, Ice Hockey, Ice Skating, Jet Skier, Jump Rope, Kick
     Boxing, Martial Arts, Martial Arts - Taekwondo, Motorcycle Riding -General, Mountain Climbing, Parkour,
     Ping Pong, Pogo Stick, Racquetball, Rappelling, Rock Climber, Roller Skating, Rollerblading, Running
     General, Running -Long Distance, Running -Sprint, Sailing, Sailor, Scuba Diver, Scuba Diving, Sculling,
     Shooting -Revolver/Automatic, Shooting -Rifle, Shooting -Skeet/Trap, Skateboarding, Sky Diving,
     Snorkeling, Snow Skiing -Cross Country, Snow Skiing -Downhill, Snow Skiing -General, Snowboarding,
     Snowmobile, Soccer, Softball, Surfing, Swimming -ability -general, Swimming -backstroke, Swimming -
     breast stroke, Swimming -butterfly, Swimming -diving, Swimming -freestyle, Tennis, Track &Field,
     Trampoline, Volleyball, Water Skiing, Weight Lifting, Wind Surfing, Wrestling, Yoga, Dance Ballroom, Dance
     Hip Hop, Dance Tango, Dancer, Firearms, Host, Juggler, Licensed Driver, Modeling, Motorcyclist, Precision
     Driver, Stunts, Vocal Range: Baritone, Vocal Range: Bass, Vocal Range: Tenor, Vocal Style: Belt, Vocal
     Style: Legit, Voiceover, Whistler, American -New York Accent, American -Southern Accent, Australian
     Accent, British -Cockney Accent, Canadian Accent




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Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 85 of 100 Page ID #:85




                        EXHIBIT 2
     Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 86 of 100 Page ID #:86
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Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 87 of 100 Page ID #:87




                        EXHIBIT 3
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 88 of 100 Page ID #:88




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Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 89 of 100 Page ID #:89




                        EXHIBIT 4
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 90 of 100 Page ID #:90




IN THE U.~. I~I~TRICT COURT
        MIDDLE DISTRICT OF TENNESSEE
                               RECEIVED
MITCH TAEBEL                      h1AR 2 d 2024            CASE No: 3:24-cv-00206
     V
                                 U.S. District Court
TAYLOR SWIFT                                       TN
                                Middle District of
                        NOTICE. OF MANUAL FILING

                                              RY ADDITION OT USB 3.0 SANDISK
     TO BE FILED ON PUBLIC DOCKET ENT
                                         1080p HIGH QUALITY N[ASTER FILE 75.1
FLASH DRIVE 128 GB WITH A FULL HD
                                    MADE 12 HR 59 MIN 13 SFC TITLED
GB OF THE GREATEST FILM EVER
                                                                              D
   LEB RIT IES MR MIT CH TAE  BEL  AN  D DR TAYLOR SWIFT MUST GET MARRIE
CE
                                          TUBE MAY 27TH 2023), FULL HD 1080p 17
IMMEDIATELY!!!!!(PUBLISHED ON YOU
                                                                             LOR
                                     F, CELEBRITIES MITCH TAEBEL AND TAY
MIN 3 SEC FILM TITLED LOOKS LIK
                                                                          M
                                      FULL HD 1080p 1 HR 42 MIN 2 SEC FIL
SWIFT ARE GETTING MARRIED!!!!,
                                        AND TAYLOR SWIFT ARE GETTING
TITLED CELEBRITIES MITCH TAEBEL
                                                                           ON
                                     UP AND MEDIA COVF,RAGE COMPILATI
MARRIED!!!!, THE LATEST STAND-
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                                      TER FILE ANOTHF?R GREATES"I'FILM EVE
FULL HD 1080p HIGH QUALITY MAS
                                         17 SEC FILM TITLED CELEBRITIES MR
 MADE 11;600,985,742 bytes 1 ~~R 38 M1N
                                        FT ARE OBVIOUS SOUL-MATES!!!!
 MITCH TAEBEL AND DR TAYLOR SWI
                                      IBIT'ES 755 FILES INCLUDING TWO
 ADDITIONAL 24.1 GB OF MEDIA EXH
                                                                            TINGS
                                    THLY LONG BEACH TOWN COUNCIL MEE
 STATEMENTS MADE AT THE MON
 ALL FOR PUBLIC ACCESS!!!!!

                  - 2024
 DATED: MARCH 13T`'




                                                        2020 GOLDEN GATE DR
                                                        LONG BEACH,IN 46360
                                                        (219)346-0017



                           Document 6     Filed 03/20/24    Page 1 of 2 PagelD #: 161
      Case 3:24-cv-00206
     Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 91 of 100 Page ID #:91

    ~~~1~SD~~N/N'~ case 2:24-cv-00073-JTM-JEM document 4 filed 03/19/24 page 1 of 1
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                  NORTHERN I.~IS~'RICT O~ INDIAN.A
     MITCH TAEBEL
          V                                            CASE No: 2:24-cv-73-JTM-JEM
     TAYLOR SWIFT

                              NOTICE OF MANUAL FILING

              TO BE FILED ON PUBLIC DOCKET ENTRY ADDITION OF USB 3.0 SANDISK
     FLASH DRIVE 128 GB WITH A FULL HD 1080p HIC7H QU.ALI~'Y MASTER FILE 75.1
     GB OF THE GREATEST FILM EVER MADE 12 HR 59 MIN 13 SEC TITLED
     CELEBRITIES MR MITCH TAEBEL AND DR TAYLOR SWIFT MUST GET MARRIED
     IMMEDIATELY!!!!!(PUBLISHED ON YOUTUBE MAY 27TH 2023), FULL HD 1080p 17
     NIlN 3 SEC FILM TITLED LOOKS LIKE CELEBRITIES MITCH TAEBEL AND TAYLOR
     SWIFT ARE GETTING l~~ARRIED!!!!, FULL HD 1080p 1 HR 42 MIN 2 SEC FILM
     TITLED CELEBRITIES NIITCH TAEBEL AND TAYLOR SWIFT ARE GETTING
     l~~IARRIED!!!!,THE LATEST STAND-UP AND MEDIA COVERAGE COMPILATION
     FULL HD 1080p HIGH QUALITY MASTER FILE ANOTHER GREATEST FILM EVER
     MADE 11;600,985,742 bytes 1 HR 38 MIN 17 SEC FILM TITLED CELEBRITIES MR
     MITCH TAEBEL AND DR TAYLOR SWIFT ARE OBVIOUS SOUL-MATES!!!!
     ADDITIONAi,24.-1-GB--OF-MEDIAEXHIBITES 755 FILES INCI,UDI~1GTWO           - ---
     STATEMENTS MADE AT THE MONTHLY LONG BEACH TOWN COUNCIL MEETINGS
     ALL FOR PUBLIC ACCESS!!!!!

     DATED: MARCH 13TH 2024



                                                        MITCH TAEBEL
                                                        2020 GOLDEN GATE DR
                                                        LONG BEACH,IN 46360
                                                       (219)34f>-0017
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 92 of 100 Page ID #:92


    USDC IN/ND case 2:24-cv-00066-JTM-JEM document 10 filed 03/15/24 page 1 of 1



  IN THE U.S. DISTRICT ~(~URT
                            NORTHERN DISTRICT OF INDIANA
  MITCH TAEBEL
        V                                                       Case No. 2:24cv66
   JOE BIDEN

                                      NOTICE OF MANUAL FILING

         TO BE FILED ON PUBLIC DOCKET ENTRY ADDITION OF EXHIBIT USB
  FLASH I»RIVE 64GB DRIVE WITH A 9HR 13 MIN FULL Hll HIGH QUALITY
  VIDEO FILE CELEBRITIES MR MITCII TAEBEL AND DR TAYLOR SWIFT MUST
  GET MARRIED IMMEDIATELY!!► ~ ! b1,53S,158,272 bytes FOR PUBLIC ACCF,SS
  FOR ETER1vITY!!!! ! ! ? r r


  DATED: MARCH 9TH 2024




                                                           2020 GOI,DF.N GATE l~R
                                                           LONG BEACH, IN 4636Q
             MA.~; 1 ~ lf11+~                              (219) 346-0017
        A~                        M
          Chando J. Berta Clr.~f;
         U.S. DISTRICT G~OURT
     NORTHERN DISTRICT OF INDIANA
Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 93 of 100 Page ID #:93




                        EXHIBIT S
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Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 94 of 100 Page ID #:94




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                                                                                                                                                                                                                                               Dependents                     G1           O1
                                                                                                          MITCHELL TIMOTHY TAEBEL                                                     unemploymeat vats:
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                                                                                                         Mailing                MITCHELL TIMOTHY TAEBEL
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                                                                                                         Address:               P O BOX 38071
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Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 95 of 100 Page ID #:95




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Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 96 of 100 Page ID #:96




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                                                             2. Over#ime [x1.6): 7.
                                                                                    OQ ~ '~ 1.59                                                                                                                            TAEBEL, M
                                                            3. D~DUCTiON FED                                                    81.14
                                                                                   WH
                                                           4. DEDUCTION Sac.                                                    1$.82                                                            1'~f_~~
                                                                                   Sec.
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                                                                                  care
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                                                          7. aEQUCTiON SDi                                                      6.d3                                                             Soc.Sec:
                                                                                 Emptoy~e
                                                          8.DEDUCTION GA SD                                                     Q.12                                                                           fi.00
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                                                                                                                                i.72                                                             Midi:
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Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 97 of 100 Page ID #:97




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                                                                                                                                                                   rook,Il 6Qd62 FEIN #XX-XXXXXXX
                                                                                       Employer is CAPS, Inc. 400 N. Skokie Bivd., Suite 460 IVorthb                                                                                                                                                                                                                                                    '~g~
                                                                                      Inquiries calf 3-5 pm CST Mon -Fri at 847-480-9752                                                                                                                            Pay Period                          Chcck Date                                            Check No                                 `~
                                                                                                                                         Emplupee Name                                                           Sociat Security No.
                                                                                            Dept.          Emp. No                                                                                                                                                                                                                                             840196867
                                                                                                                                                                                                             ***_**_2497                            Q3i25/201I - D3/25l2E}t i                         ~4l07(2~t 1
                                                                                        N              *rt*"`*2497     M1TCIiELL T 7'AEBEL_
                                                                                                                                                                                                  ,_             Current'Amonnt                                 YTD Amount _urrrnt Ta:abte                                                                                       j j $,(}Q
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                                                                                                         Woodridge Productions, Inc "Pan Am"                                 Job/Trans #                               17747/42
                                                                                   Customer                                                                                                                                                                                                      1 State Allow                                                                               I
                                                                                                                                                                             Client Job #                                                                                        Fed Allow
                                                                                   Jab Typc              1 HC7UR TELEVISION PILOT
                                                                                                                                                                                                                       Single                                                    Pay Frequency     WK
                                                                                   Job Name              PAN AM                                                              Marital Status
                                                                                                                                                                             Rec Studio                                                                                          Recording City
                                                                                   Job C)ient            NON-UN(ON/NY
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                                                                                                                                          EXTRA - T1ME-AND-ONE-HAL.F                                                                                                4.54                    4.50                             ~~.oaao                                                         54.40
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Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 98 of 100 Page ID #:98




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                                                                                         6< DE~UCTtC)N NY V~tH                                         2.64
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  'P`                                                                               ***       Medicare                                                                          1IC~%t'~11S                                           Q                                           Check: Date
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Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 99 of 100 Page ID #:99




                                                                                             NY - State SDt                         I.23                                                                                             ,~,D ~                                   a~i~~i2o~ i
                                    tctiaus =                                                Other Y7~D                             Q ~.~                        3,64                                                                                   ~ tI}UUlit
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                                                                                                            EFS "SCdt Fffth,4~+e 3rri Floor' NYC, NY 100~T *(8f8)386-0905
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                                                                                                            f~7'OfeCf: Ringer(RlNGERj                                                                                                             Union: NON
                                                                                    Check NalBafch:358258 l~QN00452Q0 Date:041b8f2411                   Work State: NY             Stars:Q3t30/2t~11             End:43130120't 1         Status: S-Q Empl.#: 2457
                                PAY CARD                                                                                                                                                                                                                 TAEBEL, M
                                                                                1. Hourly: 8.00 ~ 9,23                               73.82
                                                                               2. t}ver#ime [x1.5j: 2.00 ~ 13,8d                     27.&8                                                                                        YTD:
                                                                               3. ~~F3UCTtON FED 11V~~f                              12.38                                                                                       Fed:
                                                                               a.aE~ucTtoN soc.sec.                                   a.zs                                                                                                     4.14
                                                                               5. DEQtlCTION Medicare                                 1.47                                                                                       Soc.S~ec:
                                                                               6. DEQUCTION NY INN                                    3.61                                                                                                      X3.$3                                       tes St$t
                                                                               7. DEDUCTfON SD! Etnplt3yee                            Q.12                                                                                        Medi:                                                     iatC r'~~~
                                                                               8.DEt}UCT(ON CA S[31                                   1.22                                                                                                        4.i7
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                                                                                        I~qui+~es calf 3-5           . ~vv~v v~rg~~la AvenueCuiver Ci                              -
                                                                                                                          MOl7-~ri PST at 3l0-845_9287 90232 FEIN                                                                                                        ~ ~"_~
                                                            ~~ ',                              ~~              Emp. Npm                                                         #XX-XXXXXXX
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Case 2:24-cv-02669-WLH-MRW Document 1 Filed 03/28/24 Page 100 of 100 Page ID #:100




                                                                                                                                                                                                    5                                                                        CU555
                                                                                     Emp{oyer is CAPS, Inc. 400 N. Skokie Blvd., Suite 460 Northbrook,IL 60062 FEIN #36-249228
                                                                                     Inquiries call 3-5 pm CST Mon -Fri at 847-480-9752                                                                                                                          Check No.
                                                                                                                                                                                            Sociat Security Nn             Pay Period               Check Date
                                                                                          Dept.         Emp. No                          Employee Name
                                                                                                                                                                                           ***_**_2497           43/10/241 I - 03/1dl2011        03117/201 I      800187843
                                                                                     EN             ***'~*2497            MITCHELL T TAEBEL
                                                                                                                     Current Amount              YTD Amount         educfioas              +Current Ama          t-      ~D A~OUiIt         urcent Tr:able                   $Sala
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                                                                                                                                                                          Jabrl'rans #         8245/243
                                                                                     Customer             CBS PRODllCTI4NS, INC.                                                                                                   Fed Allow       i State Allaw               1
                                                                                                                                                                          Client Job €t
                                                                                     Jub Type             ONE HOUR T.V. SERIES                                                                                                     Pay Frequency     WK
                                                                                                                                                                          Marital Status        Single
                                                                                     Job Name             THE GOOD WIFE'                                                                                                           Recording City
                                                                                                                                                                          Rec Studio
                                                                                     Job Client           NON-UNIONMY                                                                                                                              Rate                  Amount
                                                                                                                                                                                                                        Units      Pen Units
                                                                                                                            Union #          Description                                                                                               7.7273              61.82
                                                                                     Work Date                                                                                                                           8.00           8.OU
                                                                                                                            NON              EXTRA - STR,AIGHT-TIME                                                                                   1 t.5910             23.18
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                                                                                     03/10/2011 - 03/10/2011
